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Mary Basile Logan
Post Office Box 5237
Clinton, New Jersey 08809
Email: Trino@trinops.com


                               UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW JERSEY



MARY BASILE LOGAN, individually and on behalf                |
of those similarly situated, Pro-Se;                          |
                                                              |
                               Plaintiff,                     |
                                                              |
MERRICK GARLAND, in his official capacity                    |
Attorney General, Department of Justice;                      |
                                                              |
LLOYD AUSTIN, III, in his official capacity as the           |
Secretary, Department of Defense;                             |
                                                              |
WILLIAM J. BURNS, in his official capacity as the            |
Director, Central Intelligence Agency;                        |
                                                              |
CHRISTOPHER A. WRAY, in his official capacity                |
as the Director of the Federal Bureau of Investigation;       |
                                                              |
DENIS RICHARD MCDONOUGH, in his official                     |
capacity as Secretary of Veterans Affairs;                    |
                                                              |
ALEJANDRO MAYORKAS, in his official capacity as              |
Secretary, U.S. Department of Homeland Security;              |
                                                              |
MARCIA L. FUDGE, in her former capacity as Secretary |
U.S. Department of Housing and Urban Development;             |
                                                              |
ROBERT CALIFF, in his capacity as Commissioner ,             |
Food and Drug Administration;                                 |
                                                              |
WILLIAM J. CLINTON, in his official capacity as the          |
former President of the United States of America;             |
                                                              |
HILLARY R. CLINTON, in her official capacity as              |
former Secretary of State for the United States of America; |
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                                                        |
THOMAS KEAN, Sr., in his former capacity as Chairman |
9/11 Commission;                                        |
                                                        |
ROBERT MUELLER, in his former capacity as Director |
of the Federal Bureau of Investigation;                 |
                                                        |
JAMES COMEY, in his former capacity as Director         |
of the Federal Bureau of Investigation;                 |
                                                        |
CHRISTOPHER J. CHRISTIE, in his capacity as the         |
former-Governor of New Jersey;                          |
                                                        |
RICHARD “DICK” CHENEY, in his former capacity           |
as Vice President of the United States;                 |
                                                        |
ELIZABETH “LIZ” CHENEY, in her former capacity          |
as Chair, January 6 Commission;                         |
                                                        |
JOHN KERRY, in his official capacity as U.S. Special    |
Presidential Envoy for Climate;                         |
                                                        |
GEORGE W. BUSH, in his former capacity as               |
President of the United States;                         |
                                                        |
BARACK HUSSEIN OBAMA, in his former capacity as |
President of the United States;                         |
                                                        |
LORETTA LYNCH, in her former capacity as                |
United States Attorney General;                         |
                                                        |
JAMES BAKER, in his former capacity as White House | CIVIL DOCKET: 3:24-CV-00040
Chief of Staff;                                         | ZNQ-TJB
                                                        |
ERIC HOLDER, in his former capacity as United States | ORAL ARGUMENT REQUESTED
Attorney General;                                       |
                                                        |
JOSEPH R. BIDEN, in his official capacity as President, |
his former capacities as Vice President and Senator, of |
these United States;                                    |
                                                        |
JOHN ASHCROFT, in his former official capacity,         |
as United States Attorney General;                      |
                                                        |
JAMIE GORELICK, in her official capacity, Homeland      |
Security Advisory Council member;                       |


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                                                           |
NANCY PELOSI, in her official capacity as                  |
Congresswoman (CA);                                        |
                                                           |
GEORGE NORCROSS, in his capacity as Chairman,              |
Cooper University Medical Systems;                         |
                                                           |
PHILIP MURPHY, in his official capacity as Governor        |
of New Jersey, and as former Chair of the National         |
Governors Association (NGA);                               |
                                                           |
TAHESHA WAY, in her former capacity as Secretary           |
of State, as former President of the National Association |
of Secretaries of State, and her current capacity as       |
Lt. Governor, New Jersey;                                  |
                                                           |
JUDITH PERSICHILLI, in her official capacity as then- |
Commissioner of Health for the State of New Jersey;        |
                                                           |
SEJAL HATHI, in her official capacity as Deputy            |
Commissioner for Public Health Services;                   |
                                                           |
MATTHEW PLATKIN, in his official capacity as               |
Attorney General of the State of New Jersey;               |
                                                           |
KATHY HOCHUL, in her official capacity as Governor         |
of New York;                                               |
                                                           |
ANDREW CUOMO, in his former capacity as Governor |
of New York and his capacity as Vice-Chair of the National |
Governors Association;                                     |
                                                           |
LETITIA JAMES, in her capacity as Attorney General of |
the State of New York;                                     |
                                                           |
SUSAN RICE, in her official capacity as United States      |
Domestic Policy Advisor;                                   |
                                                           |
ADAM SCHIFF, in his official capacity as Congressman, |
of the State of California;                                |
                                                           |
CHARLES “CHUCK” SCHUMER, in his official                   |
capacity as Senator for the State of New York;             |
                                                           |
XAVIER BECERRA, in his official capacity as                |
Secretary of Health and Human Services;                    |


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                                                         |
JANET YELLEN, in her official as Secretary of            |
the United States Treasury;                              |
                                                         |
ROD ROSENSTEIN, in his former capacity as United         |
States Deputy Attorney General;                          |
                                                         |
HUMA ABEDIN, in her former capacity as vice              |
Chair of Hillary Clinton;                                |
                                                         |
DEBBIE WASSERMAN SCHULTZ, in her current                 |
capacity as U.S. Representative, (FL-25);                |
                                                         |
BILL NELSON, in his official capacity as Administrator   |
of NASA;                                                 |
                                                         |
OCCIDENTAL PETROLEUM;                                    |
                                                         |
UNITED HEALTHCARE;                                       |
                                                         |
DEMOCRATIC NATIONAL COMMITTEE;                           |
                                                         |
REPUBLICAN NATIONAL COMMITTEE;                           |
                                                         |
JAMES PITTINGER, in his official capacity as Mayor       |
of Lebanon Borough, State of New Jersey;                 |
                                                         |
LISA SELLA, in her official capacity as Deputy Clerk,    |
Lebanon Borough, State of New Jersey;                    |
                                                         |
ROBERT JUNGE, in his official capacity as Municipal      |
Co-Chair, Republican Party, Lebanon Borough, State of    |
New Jersey;                                              |
                                                         |
JOHN DOES (1-100)                                        |
                                                         |
JANE DOES (1-100)                                        |
                  Defendants.                            |
________________________________________________

    PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION HEARING DATE,
                 AND TEMPORARY RESTRAINING ORDER

                PLAINTIFF’S SUPPLEMENT IN SUPPORT OF MOTION




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       On January 4, 2024, Plaintiff filed this lawsuit as an amended complaint, alleging that

Defendant’s actions, taken under the color of state law, deprived the Plaintiff of Rights,

privileges, or immunities in violation of 42 U.S.C. § 1983, the First and Fourteenth Amendments

to the Constitution, and the Equal Protection Clause. Plaintiff filed a Motion for Preliminary

Injunction Hearing Date and Temporary Restraining Order. The Court acknowledged Plaintiff’s

request, scheduling a Motion hearing date of June 17, 2024, to be decided on papers with no

appearances required. Accordingly, Plaintiff provides this supplement to the Motion, ensuring

that all facts are presented to the Honorable Court, absent oration on June 17, 2024.

                                SUPPLEMENT TO ARGUMENT

       1.      Plaintiff restates all and inclusive claims represented and authored by her hand,

informed by God, Almighty, as set forth inclusive of the supplemental submissions with Exhibits so

accompanying, ECF 45; 45-1; 45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10; 45-11; 45-12; 45-

13; 45-14; 45-15; 45-16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 56; 46; 46-1; 46-2; 55; 55-

1; 55-2; 55-3; 55-4; 55-5; 73; 73-1; 73-2; 73-3; 73-4; 73-5; 73-6; 73-7, and 73-8 in support of the

certified statements of harm herein.

       2.      Title 18 § 245(b)(1)(A) of the U.S. Code addresses election interference in elections by

force or threats. Title 18 § 245(1)(A) imposes penalties on whoever “by force or threat of force

willfully injures, intimidates or interferes with, or attempts to injure, intimidate or interfere with any

person because he is or has been, or in order to intimidate such person or any other person or any class

of persons from” voting or participating in other election activities. Title 18 § 245 (a)(1) requires the

Attorney General, the Deputy Attorney General, the Associate Attorney General, or a specially

designated Assistant Attorney General to certify that federal prosecution of a case under Section

245(b)(1)(A) is in the public interest and necessary to secure substantial justice.



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          3.   Plaintiff states that her Civil Rights have been violated and will, with the pending

primary election in June and, thereafter in November; these violations are born of the hand of an

exacting while unlawful trespass by the Department of Justice, the Department of Homeland Security,

and the Executive of these United States; by name, these individual persons, under color of law

include Defendant, MERRICK GARLAND, ALEXANDRO MAYORKAS and JOSEPH R. BIDEN.

Plaintiff seeks the Honorable Court’s consent to add LISA MONACO as a named Defendant to this

action.

          4.   Plaintiff analyzed the Congressional General Accountability Office reports from the

period of March, 2024 – May, 2024, without exception, not one of the Administration’s Departments

or inclusive GAO oversight areas were acted upon, same as outlined below. Plaintiff has analyzed

these reports from the time of her academic completion, 2018, the consistency of the lack of

implementation of recommendations is unprecedented, reflecting an Administration derelict

department management of even the most routine of responsibilities while providing further insight

into the gross dereliction of National Security, including those of the highest priority, heightened by

foreign wars, international conflict for which the taxpayers of these United States are funding,

domestic protests at collegiate venues and threats of further public health crises. The inclusive data

provides for broad and unprecedented levels of gross incompetence for even the most routine policy

matters informed by codified statute. The analysis affirms Plaintiff’s inclusive claims; from outward

appearance the unlawfully seated Administration projects a competency evaporates immediately upon

examination, they are knowingly disengaging from the governmental responsibilities associated with

the subject areas as they are preparing for the realization of their schema; the subterfuge of these

United States – treasonous actions.




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        5.      Plaintiff restates that the facts are irrefutable, the elections; from the printing of the

ballots to the machine count and, thereafter certification, have been irrefutably corrupted by foreign

nation-states, the United Arab Emirates, and those parties, as yet unknown are shell entities who were

affirmed and permitted to operate by coopting the Rule of Law under the watchful eyes of the

inclusive Defendants, above stated. Plaintiff states that these actions are in violation of Title 18 § 595,

prohibiting government employees from using official authority in connection with federally financed

activity to interfere with or affect a federal election.

        6.      Plaintiff states that the inclusive Defendant miscreants have, in fact, partnered with

foreign nation-states and corporate entities as subversives, saboteurs of these United States. To secure

their objectives while further trampling the Plaintiff’s Civil Rights, they have exacted their hand by


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conduit designee of State District Attorneys, Prosecutors and Attorneys General, employing such

parties as private attorneys to their enterprise of usurpation, exacting lawfare, disemboweling these

United States of the Founders words scribed in the Constitution, believing that it is their Right to hold

civilians subject of their control, force and influence, hostages of their own Country in Washington

D.C. and New York City. A comprehensive analysis of their actions discloses them indifferent from

the pirates of high seas amid the Barbary Wars; the vast historical chasm between 1801 and 2024

closes upon examination, the millions paid for defense of these United States in 2024 are, in fact, a

tribute to the opaque foreign owned corporate registrant, masked by shell corporations on domestic

soil.   Our Nation was not founded by despots, such leaders were left behind in Britain that the United

States might forge a new way; to live under the Rule of Law and Natural Law, informed by God,

Almighty as a Judeo-Christian civil society, with the expectation that others in her company be

mutually inclined.

        7.      Plaintiff states with the primary election days away, this matter before the Honorable

Court made imperative as to the nature and implication of the inclusive Defendants actions to

knowingly subvert lawfully held elections through the imposition of foreign designees manifest within

the election apparatus, undisclosed within contracts and, as disclosed herein, apart from the Bylaws of

the United States Election Assistance Commission. The inclusive Defendants so determined of their

intent, that they manifested Russian election interference as evidenced by the Plaintiff, while

providing carte blanche National Security access to third party designees twice over, both of foreign

enterprise, the Awan Brothers and Crowdstrike. In both cases, Capitol Police stated that no

background check was completed, further indicating the malicious nature of the inclusive Defendants’

intent to exact outcome while aiding and abetting third parties, consummating payment to same with

taxpayer funds. These actions have all averted the Rule of Law to date.



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         8.      Plaintiff states in furtherance of the foregoing, the inclusive Defendants have

 manifested federal statute which affixes Microsoft, a foreign enterprise who has themselves,

 contracted with G42, a wholly governmental owned enterprise of the United Arab Emirates. Through

 a work-around within the federal Election Infrastructure Subsector Plan, the inclusive Defendants are

 imposing on the inclusive and absolute Rights of the sovereign as set forth:

                     a. Section 245, the certification process was consistent with a federal practice that

                         ‘even where federal law has been adopted, enforcement generally has been

                         deferred to the States wherever possible.’ Plaintiff states that the certification

                         so too has been given unlawful access to third-party designees of States as

                         established in Plaintiff’s Motion, these designees are themselves foreign and

                         hold to ideological structures that impose on Plaintiff’s sovereign Rights.

                     b. “This provision prohibits using force or threat of force to willfully injure,

                         intimidate, or interfere with ‘any person because he is or has been, or in order to

                         intimidate such person … from participating, without discrimination on account

                         of race, color, religion or national origin,” in voting or voting related

                         activities.”1 Plaintiff states the injury which will result from the subversive

                         actions set forth and evidenced herein are incalculable, the harms evident and

                         enumerated herein equally incalculable.

                      c. Plaintiff states, the lawfare exacted by the Defendant, JOSEPH R. BIDEN in the

                         company of the DOJ, directed at the opposing candidate, Donald J. Trump who

                         remains a hostage in New York City under gag order, irrevocable violates Section

                         245(b)(1)(A) “by unlawfully interfering with a candidate campaigning for


 1
  CSR LSB11125, March 15, 2024. Overview of Federal Criminal Laws Prohibiting Interference with Voting.
 Accessed May 1, 2024. https://csrreports.congress.gov

                                                     10
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                         elected office.”2 Plaintiff states that the unlawful actions of the Defendant,

                         JOSEPH R. BIDEN are deceitful to governmental agency, in this case, disrupting

                         the functions of government in its entirety. Plaintiff has herein documented to

                         this Court that in all areas of government the Defendant has and continues to

                         allow a permeation of dereliction with consideration to National Defense and

                         National Security, Plaintiff states the public riots which have turned violent at

                         academic settings as well on the floor and halls of the Capitol building in recent

                         months. These events when combined with the Defendants’ funding of foreign

                         nation-states while depleting the United States military presents a clear and

                         present danger made absolute by the evidenced facts presented to this Honorable

                         Court, the Defendant coupled and unquestionably instrumental in the planning

                         for, carrying out of and assurance of outcome of the subversion of these United

                         States. Plaintiff pleads before this Honorable Court to intervene in the assurance

                         of continuum of the future of our Nation.

             9.   Plaintiff states that to achieve their preconceived outcome, Alvin Bragg met with the

 DOJ, among others, in the formulation of his work product advancing the trial, the same holds true of

 Defendant, LETITIA JAMES’ case; the FBI, by warrant issued from the DOJ was expressly told to

 use any force necessary, at the private residence of the former President of the United States, the

 property as well the former President and his family under protection of the Secret Service. In this

 case, the DOJ directed the actions of the highest levels of law enforcement to intervene on the Former

 Presidents Protection Act of 2012 while extending to themselves carte blanche on the court-issued

 search warrant which cited, “…including 11 sets of classified documents ranging from ‘Confidential’



 2
     Ibid. p2.

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 to ‘Secret’ to ‘Top Secret’ and ‘TS/SCI documents.’” 3 The subject letter, authored by Defendant,

 ADAM SCHIFF, continues in recitation for which the author took unconstitutional liberty and license

 of language, “President Trump repeatedly attempted to destroy presidential records.” Plaintiff is

 withheld lawful transparency with the cited correspondence of Ms. Maloney having been removed,

 displaying an error 404, denied access, itself unconstitutional while supporting both Plaintiff’s harms

 and herein claims.

         10.     Plaintiff states that the foregoing actions surreptitiously and unequivocally impose on

 the sovereign Civil Rights under Title 18 § 494 of the Plaintiff. The inclusive Defendants have and

 continue to exhibit a criminal element far exceeding disownment of their Constitutional oath

 professed before God, Almighty, revealing a malignancy amplified as it permeates every facet of

 government, corrupting all in its wake. Plaintiff seeks to bring to the attention of this Honorable

 Court, the words of Daniel Webster, “strong agitations…surrounded by very considerable dangers to

 our institutions of government”4 as provided for in ECF Doc. 1 and iterated repeatedly in nearly all

 and inclusive pleadings since, the inclusive Defendants have empowered an invisible hand, operating

 apart from the Constitution as well the guardrails of jurisprudence, in many cases undocumented of

 contract and when such contract does exist, public transparency through bidding is withheld,

 altogether. These entities, including Microsoft, have affixed an emolument affiliation with

 government, whether by force or trickery of bribe is of no relevance to the resulting unconstitutional

 degradation of the Plaintiff’s Civil Rights.




 3
   Schiff, Adam, Maloney, Carolyn. August 13, 2022. “Letter to the Honorable Avril Haines.” Accessed May 27,
 2024 https://www.justice.gov/d9/2024-02/02.06.24.%20-%20Mar-a-Lago%20Search%20Warrant%20-
 %20Final.pdf
 4
   Webster, Daniel. The Constitution and the Union – Hear Me For My Cause. March 7, 1850. Accessed January
 10, 2020 Liberty.edu

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           11.     Plaintiff has provided the Honorable Court with concrete examples wherein the

 inclusive Defendants, MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS,

 CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA

 FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS KEAN

 SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK”

 CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK

 HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN,

 JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE NORCROSS, PHILIP

 MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN,

 KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF,

 CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD ROSENSTEIN,

 HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON, OCCIDENTAL

 PETROLEUM, UNITED HEALTHCARE, the DEMOCRATIC NATIONAL COMMITTEE, the

 REPUBLICAN NATIONAL COMMITTEE, JAMES PITTINGER, LISA SELLA, and ROBERT

 JUNGE, herein after referred to as “inclusive Defendants” have proven themselves derelict in their

 statutory role.

           12.     Plaintiff states that she has lost all confidence in the inclusive Defendants who have

 relegated themselves as tyrants to their Countryman, manifest in acts indicative of war, all the while

 orating that their actions are sacrosanct; accordingly, Plaintiff provides additional proofs set forth

 herein.

           13.     Plaintiff states, citing the facts set forth in ECF Doc. 73, the elections held from

 the data of historic record Executive Order 13848, a clear and irrefutable violation, conducted

 with the knowledge and intent of outcome, by coopting the infrastructure and election security



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 covertly and overtly by foreign third-party vendors. Moreover, Plaintiff emphasizes, that the

 inclusive Defendants, manifested the foregoing violations through trickery including fear and

 intimidation, instructing persons under guise of 10th Amendment protections while withholding,

 delaying, or altering including partial disclosure of facts pertaining to federal investigative

 findings, findings which would have proven detrimental to their cause. These inclusive actions

 evidence political intimidation; deception and trickery by federal bodies in and among protected

 election officials, poll workers etc. at the state, county, local and tribal levels who are statutorily

 severed from the federal hand of governance to avoid such tyranny.

         14.     Plaintiff realleges and incorporates by reference all prior paragraphs of this

 Supplement to the Notice of Motion for Injunctive Relief and the paragraphs in the inclusive

 counts as fully set forth herein.

 William “Bill” Gates III, Microsoft and the Board of Directors.

         15.     Plaintiff states that in August, 2021, Christopher Young joined the Microsoft staff

 as Executive Vice President, Business Development reporting directly to Satya Nadella, CEO.

 Mr. Young formerly served as Chief Executive Officer for McAfee. Plaintiff refers to the factual,

 evidenced analysis as set forth in ECF Doc. 73, p.32, the history of McAfee known to this

 Honorable Court as much the malfeasance and willful intent by Microsoft to further encroach the

 sovereign Rights of the Plaintiff, overtly intended to destroy her Liberty by imposing an invisible

 hand, malevolent and unlawfully into the federally protected National Infrastructure Subsectors

 of these United States.

         16.     The foregoing an incontrovertible violation of Executive Order 13848, with the

 facts presented in ECF Doc. 73, which affirms that G42, a/k/a Mubadala, is a wholly owned

 entity and instrument of the United Arab Emirates, Plaintiff states that the hardware and software



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 serving as the conduit by which the Plaintiff’s sovereign vote is tabulated, scanned, counted and

 warehoused for storage disposition are an embodiment of economic espionage; a coup, carried

 out with the aid of provocateurs, men and women who are herein represented as the inclusive

 Defendants, having deceived their Country, God Almighty and every headstone resulting of lives

 lost in the batter for this Nation’s retention; Plaintiff stands affirmed and unmoving. Plaintiff

 will not partner with the inclusive co-Defendants through silence or passivity, God demands no

 less as their desire has been made known, to foreclose on dominion, the gift in care, a

 responsibility to neighbor as self; Plaintiff stands down no one in this sacred promise.

         17.     Plaintiff states that Robert Altman, in the company of Clark Clifford, attorneys

 who were charged with laundering drug money, stealing billions of dollars and handling secret

 bank accounts for the CIA, a Defendant to this action, the charges filed by Robert Morgenthau as

 Manhattan District Attorney following his autonomous investigation. Germane to Plaintiff’s

 action, excerpt provided from the BCCI records and repository:

         …Prosecutors alleged that Mr. Altman…disguised BCCI’s role as a main shareholder in
         Washington-based First American Bankshares Inc., allowing it secretly control the bank.
         He and Mr. Clifford, a highly prestigious attorney who has been the confidant of four
         Democratic presidents, represented BCCI and Middle East investors and senior
         executives at First American…The two high-powered lawyers were accused of making
         millions in legal fees and accepting BCCI loans for stock-sweetheart deals…As his
         acquittal was announced, his wife, Lynda Carter…leapt into his arms. The couple, who
         are among the most socially prominent people in Washington, were warmly congratulated
         by the jurors, several of whom wept.5

         18.     Plaintiff states for the Honorable Court’s consideration, following the passing of

 Mr. Altman, who owned and operated ZeniMax Media and publisher Bethesda Softworks,

 developer of games for Xbox and PC adaptation, Microsoft purchased ZeniMax and Bethesda

 Softworks. Following Microsoft’s acquisition, the company continued development and the


 5
  Reeves, Phil. Altman Cleared in BCCI Fraud Case: Verdict Also Marks Victory for Lawyer’s Partner Clark
 Clifford. August 15, 1993. Accessed January 10, 2022.

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 evolution of gaming with technological advancements, hardware, software as well as gaming

 specific devices and accessories, presently at $67 Billion industry, benefiting from the capitalist

 model as well the guardrails of property established by the Founders, a symbiotic relationship in

 a free-market economy.

           19.    Plaintiff states that the ElectionGuard software, a legally protected component of

 the election Infrastructure Subsector, uploaded from the Cloud-based platform called GitHub,

 authored by Josh Benaloh, See Doc. 73 p.43, and Galois, a contracted third party. The

 ElectionGuard software offers an optional Xbox adaptive controller to mark ballots, expanding

 the election infrastructure to incorporate real-world election systems; the Xbox controller,

 reconfigured, thereafter introduced for use in the election. In 2012, Columbia University queried

 Xbox players, collecting 700,000 responses from 345,000 players, 6 queries included private

 information about the players age, sex, and demography. Microsoft incorporated the polling

 model in their Prediction Lab,7 applying the Wang study of forecasting on their owned and

 content output-controlled platform. The Wang study, (See: doi.org/v5g) published in the

 International Journal of Forecasting, suggested that polls taken through Facebook and gaming

 platforms are “cheaper, faster, timelier and an order of magnitude larger” than traditional polling.

 Plaintiff restates the claims as set forth in the repository of the Honorable electronic court filing

 record.

           20.    Plaintiff canvassed random Counties in the State of New Jersey following the

 2020 and 2021 election, a very detailed model followed, omitting any and all personal questions

 but for three:


 6
   Rutkin, Aviva. Gamers Polled on Xbox Can Predict US Election Results. October 8, 2014. Accessed
 https://www.newscientist.com/article/mg22429903-400-gamers-polled-on-xbox-can-predict-election-outcome-
 results
 7
   Ibid.

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                    a. Did you vote in the 2020/2021 election? If yes, my mail-in, in person or

                        provisional?

                    b. Did you receive an overage of ballots at your home? If yes, what did you

                        do with them?

                    c. Are there any other registered voters residing at the address? If yes, did

                        they receive a ballot at the residence? Did they vote in the subject

                        elections?

        As a matter of historic record, Assistant Attorney General, Civil Rights Division, Kristen

 Clarke and the Defendant, MERRICK GARLAND stated publicly in New Jersey that canvassing

 door-to-door may violate civil rights laws aimed to prevent voter intimidation. The foregoing

 DOJ statements were echoed, in written communication in some cases, across the United States

 as the People engaged their neighbors, a time-old tradition evidenced by the Founders as Publius.

 Following these DOJ statement issuance, their non-profit affiliates, whose 990’s are certified and

 executed which state, Part IV, Question 3 of the checklist of required schedules asks, “Did the

 organization engage in direct or indirect political campaign activities on behalf of or in

 opposition to candidates for public office? (Yes or No).” Plaintiff attaches the Clinton

 Foundation 2021 990, from her open-sourced repository which clearly indicated “No” to the

 foregoing question. In furtherance, Plaintiff attaches the Mozilla Foundation 2021 990 where

 Brian Behlendorf serves on staff, the non-profit organization answered “No” to Part IV, Question

 3.

        21.     Plaintiff states as a matter of record that the DOJ is, itself, overtly discriminating

 against the Plaintiff, outright, and continues unabated in such traverse. Plaintiff relies on the

 facts presented, at every opportunity, the inclusive Defendants have evidenced an intent towards



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 one particular person, the former President of the United States, while at the same time the DOJ,

 Treasury the Internal Revenue Service (“IRS”) and the State Department have conducted

 themselves as though a two-year old hiding in their corner, covering their eyes as though no one

 can see them; Plaintiff sees, quite clearly actually. Plaintiff, herself owns a non-profit entity, has

 gone through the process to secure same, every machination. So too can Plaintiff execute, certify

 and attest that her organization is non-partisan with members who are from every walk of life,

 political ideology and social sphere; they have one this in common, a love for God and Country.

 While the foregoing tax-exempt entities skirt every manner of Constitutional law, the former

 New York Attorney General, Barbara Underwood, sued the Trump Foundation and the Board

 members including Donald J. Trump, Donald Trump Jr., Ivanka Trump and Eric Trump, who at

 the time was the seated Chief Executive of these United States. The cause of action claimed in

 part “unlawful political coordination with his 2016 presidential campaign and self-dealing

 transactions to benefit Trump’s personal and business interests.” 8 The FEC declined comment

 regarding the case; however, the absence of comment did not stop the New York Attorney

 General who authored letters to the IRS and FEC “identifying possible violations of federal law

 for further investigation and legal action by those federal agencies.” 9 The Trump Foundation

 was dissolved by its’ originators. Plaintiff states if Ms. Underwood were acting in accordance

 with the capacity of her role, it is reasonable to believe that her analysis would be

 comprehensive, inclusive of all tax-exempt entities operating from a New York mailing address

 upon inception. Plaintiff attests that the New York Attorney General, not unlike her successor,




 8
   Samuelsohn, Darren. New York AG sues Trump, alleging ‘Illegal Conduct’ at His Charity. June 14, 2018.
 Accessed May 23, 2024 https://www.politico.com/story/2018/06/14/new-york-ag-sues-trump-children-and-
 charitable-foundation...
 9
   Wamsley, Lauren. New York Attorney General Sues the Trump Foundation. June 14, 2018. Accessed June 14,
 2023 https://www.npr.org/2018/06/14/619959270/new-yorks-attorney-general-sues-the-trump-foundation

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 Defendant, LETITIA JAMES, applied a selective and discriminating form of the law, removing

 reliance of fairness and equity from the scales of justice, entirely. If the foregoing statement

 were untrue, the New York Supreme Court would have record of such fiscal evaluation against

 the Clinton Foundation or for that matter Denise Rich’s foundation, Gabrielle’s Angel; both of

 whose records indicate that they do not participate in political activities as certified statements to

 the IRS.

        22.     Plaintiff reviewed the Microsoft Charitable Trust, one of several non-profit

 organizations managed and owned by William “Bill” Gates, filing a 2022 990PF, a 501c3,

 Section VI-A marked “No” for campaign contributions exceeding $100.00, Section VI-B(1)

 carry on propaganda, or otherwise attempt to influence legislation, marked “No” and, influence

 the outcome of any specific public election or to carry on, directly or indirectly, any voter

 registration drive, marked “No.” The foreign registered entity has been involved in the outcome

 of public elections since 2005, deceptive in .

        23.     As a matter of record; the inclusive Defendants have by collective action, fostered

 a contemptable, animus and inhospitable environment which gives way to a breakdown of social

 structure, resulting in schisms which depart reasonable expectation within a civil society to

 function; many of which did not exist prior to COVID-19. Again, the inclusive Defendants

 profess unwanted statements of fact, including Plaintiff’s pleading, as misinformation or

 conspiracy theory while those of their making are viewed as righteous. The foregoing is well

 evidenced by Defendant, ANDREW CUOMO, who in recent weeks denied every mandating

 public face covering in New York; merely one example, such as the 990 returns of non-profit

 entities and the lawfare exacted against a sitting Chief Executive; the examples abound.




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         24.     Plaintiff states in furtherance of the Microsoft contractual relationship with the

 government owned enterprise of the United Arab Emirates, G42, in the venue of the Microsoft

 Azure platform for which the sovereign elections of the United States so too navigate; in the

 2024 federal election, “Microsoft will be introducing ‘invisible’ digital watermarking credentials

 called C2PA, much like how deepfakes and AI-generated images are tagged. When you

 encounter an image or video that contains C2PA credentials, you’ll be able to learn more about

 its creator and origin by clicking on an embedded pin that will reveal the asset’s detailed

 history…this new service adds to existing security programs like Azure for Elections, which

 helps U.S. election agencies.”10




 10
   Giland, Rafly. Microsoft Steps Up to Protect 2024 Elections Worldwide. November 8, 2023. Accessed May 16,
 2024 https://mspoweruser.com/microsoft-2024-elections-worldwide

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        25.    Plaintiff analyzed the corporate structure and composite of the Boards,

 Commissions and philanthropic endeavors associated with Microsoft as well its founders,

 William “Bill” Gates and Paul Allen as well as the Board Members, findings provided below:

                   a. William “Bill” Gates. Microsoft was formed in 1975, forming an alliance

                      with IBM in 1980, introducing its’ first retail version of Microsoft

                      Windows in 1985. Gates held the primary responsibility of Microsoft

                      product strategy, including writing code. In 1998 Microsoft was sued

                      (United States v. Microsoft), a case in which the Judge ruled that

                      Microsoft had committed monopolization, tying, and blocking

                      competition; each violating the Sherman Antitrust Act. In his videotaped

                      deposition, he presented as dismissive upon direct question, using the

                      phrase “I don’t recall” extensively, even to mundane questions; similarly,

                      his relationship among his staff has been tenuous, compartmentalizing

                      people within their specific roles. His interaction with Jeffrey Epstein

                      appears more apt to a learning objective.

                   b. Plaintiff states that in 1994, he formed the William H. Gates Foundation,

                      followed by two others which were combined under the Bill & Melinda

                      Gates Foundation . The foundation has five program areas of focus;

                      Global development division; Global health division; United States

                      division; and Global Policy & advocacy division. In addition to funding

                      applicant endeavors directly, Gates also funds other non-profit

                      organizations including the Wellcome Trust, Carnegie Mellon University

                      among others. Through the Foundation, Gates gained unlawful traverse in



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                  areas of public trust, areas to which he has neither the academic acumen

                  nor the licensure for lawful access, in point of fact, absent his Foundation

                  and donor capacity, he would not otherwise have such access; he in

                  essence has purchased venue to areas of public trust; including but not

                  limited to legally protected areas of public health, public education, and,

                  the most sacred, public elections. These traversed areas are wholly

                  unconstitutional, an imposition of Plaintiff’s Civil Rights, corrupting the

                  legal barriers of protective thresholds of the Voting Rights Act, the Patriot

                  Act and the Sherman Act.

               c. As Plaintiff holds to no private contract with either the Foundation or

                  Microsoft, her First and Fourth Amendment Rights have been grossly

                  violated by unlawful access to private information, including but not

                  limited to her private ballot cast in the elections of 2016, 2017, 2018,

                  2019, 2020, 2021, 2022 and 2023. These usurpations were conducted by

                  external partners of federal agencies who knowingly violated federal law

                  to meet a preconceived outcome, using trickery and deceptive disclosure

                  of corporate records, a violation of the Travels Act, 18 U.S.C. § 1952(a)(3)

                  and that such unlawful activity was conducted covertly, aided and abetted

                  by the inclusive Defendants, who themselves are no less culpable for such

                  violations of Plaintiff’s Rights.

               d. The Foundation and donor capacity permits the unlawful traverse by Gates

                  would form relationships with:




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                             i. Efforts to advance universal access to consensual family planning

                                by influencing policy, gaining such access through a medium of

                                exchange including but not limited to political leverage, donor

                                funds which are tax exempt and emoluments; recipients of the

                                foregoing include but are not limited to Defendant, CHARLES

                                “CHUCK” SCHUMER, XAVIER BECERRA, and UNITED

                                HEALTHCARE.

        26.     Plaintiff refers to February 27, 2024 DOJ antitrust investigation of UnitedHealth

 Group, subject of Plaintiff action as a co-Defendant. Plaintiff confirms that the UnitedHealth

 Group is a foreign enterprise. UnitedHealth owns physician groups among other assets, it does

 not disclose to the public that it is a foreign enterprise, through craft and trickery, UnitedHealth

 is benefiting from the capitalist marketplace, the company was subject of a substance cyber

 breach including the disclosure of private health information belonging to patients in 2024.

 Plaintiff states Civil Rights harms, the basest of all Rights, those of Life, Liberty and Property

 are substantially threatened by the actions of UnitedHealth Group.

        27.     Plaintiff refers to Amtrust North America, affiliate of the Travelers who is subject

 of Plaintiff pleadings of ECF record. Plaintiff refers to CropPro, Inc. who in 2015 sold Crop Pro

 Insurance LLC to Technology Insurance Company. A significant portion of the GDP comes from

 midwestern crop growers for which the Plaintiff benefits, the loss of same would have a

 detrimental impact on Plaintiff pursuit of Life, Liberty and Property through an escalation of

 food costs which far exceed inflation. Plaintiff states as a matter of record, CropPro Insurance

 LLC is a foreign enterprise.




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        28.     Plaintiff refers to ANV Global Services, a non-resident insurance agency and

 subject of Plaintiff harm claims. Plaintiff confirms that ANV Global Services is a foreign

 enterprise, Christopher Foy, acting as President who also hosts 289 companies and serves in

 many cases as the registered agent.

        29.     Plaintiff refers to the American Telemedicine Association which shares an

 association with Aetna/CVS Health. American Telemedicine Association is a foreign enterprise

 registering with agent: Natalya Arjantseva who is affiliated with Sterling Youth Soccer (VA) and

 also associated with Sree Chagututu, M.D. Plaintiff cites a detrimental impact on Plaintiff

 pursuit of Life, Liberty and Property; the ability to assure privacy among foreign parties

 undisclosed in not assured.

        30.     Vulcan Capital Management and the Estate of Paul Allen. Paul Allen (“Allen”)

 was a schoolmate of William “Bill” Gates. Allen remained active and committed to Microsoft,

 despite leaving after his diagnosis with Hodgkins Lymphoma in 1983. One of these was an

 endeavor with his sibling, Jody Allen, Vulcan Inc. and Vulcan Capital Management.

                   i.   Allen also secured ownership of sports ventures including the Seattle

                        Seahawks, associated with the NFL; the Portland Trail Blazers, associated

                        NBA; and a part owner of the Seattle Sounders FC, associated with Major

                        League Soccer. In 2000, he officially resigned from Microsoft’s Board but

                        assumed the post of Senior Strategy advisor on the management team,

                        accordingly, his Estate remains culpable for violations of Plaintiff’s Civil

                        Rights, set forth herein.

                  ii.   Founded Allen Institute of Brain Sciences, Artificial Intelligence and Cell

                        Science; and Apex Learning.



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             iii.   Through philanthropic pursuits, he donated to education, wildlife,

                    environmental conservation, the arts, healthcare, and community services,

                    funding the first crewed private spaceplane, SpaceShipOne.

             iv.    Vulcan Capital Management maintains principal offices in New York, NY

                    and Houston, Texas. Through the venue of Vulcan Capital Management,

                    several private equity structures were devised focused on growth capital,

                    mezzanine capital, leveraged buyouts, recapitalizations and structured

                    equity in the energy, natural resources and green technology sectors in the

                    United States, Canada, Nigeria, Bangladesh and Iraq. This company’s

                    history in managing contracts is less than stellar, both among the

                    contractual parties as well as the employees; areas of bribery, fraud and

                    malfeasance evident. The operations managers, Ford Graham and Kevin

                    Davis have, over time, been accused of a variety of matters including the

                    operation of $5m ponzi scheme. In 2021, the organization ceased

                    operation. In 2013, Allen opened a new Vulcan Capital office in Palo

                    Alto, CA to focus on new investments in emerging technology and internet

                    companies.

                    Plaintiff seeks to be exacting in these findings, from the information

                    garnered by open source, presented above, in combination with those

                    discussed in the Motion for Preliminary Injunction (See ECF Doc. 73), the

                    history of BCCI, Marc Rich, etc. is absolutely irrefutable. Plaintiff, in part

                    directed by curiosity, continued analysis of associated entities.




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        31.     Plaintiff states, the facts herein presented, Microsoft is a manufactured

 manifestation of the CIA, its rotating Board of Directors, the same as BCCI built on the

 apprenticeship model and mapping to ensure that the structure and scaffolding is buttressed.

 Plaintiff attaches corporate filings, affirming that Microsoft is a foreign entity, consolidating all

 companies in 1993 under one corporate structure, foreign in its registration. This event by

 Microsoft is the same year that BCCI came under scrutiny by Defendant JOHN KERRY, a

 saboteur, provocateur who knowingly compromised the investigation while simultaneously

 dragging the process out, permitting time for the marketplace substitute of BCCI to advance,

 shoring the substructure for navigation in the maintenance of the fascia. The fascia entities, each

 serving on the Board of varied multinational conglomerate organizations, including Microsoft, in

 rotation while launching new shell entities which would late be built up through various

 monetary machinations, evolving into conglomerates; each foreign with domestic front or straw

 holding shell companies; knowingly abusive of the privilege and structure of the free market

 economy of these United States, benefiting from the Founders model, her Constitution.

        32.     Through deceptive craft and trickery, a schema, these events are en’ masse,

 representing an existential threat to the sovereignty of the free-market economy made knowingly

 vulnerable by the inclusive Defendants and insodoing create for one sovereign Nation, these

 United States, an insolvency to the benefit of another, the United Arab Emirates. The collective

 covert and overt actions, intent to forcibly overthrow these United States, while an unsuspecting

 People, the Plaintiff therein among, lawfully endeavor to their obligations as the inclusive

 Defendants’ toil within their subterfuge, dismantling Plaintiff’s sovereignty as well her God

 given Rights, unalienable by human intervention including Life, Liberty, and Property. Stated

 succinctly, the inclusive Defendants’ have endeavored that these United States so too become a



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 shell corporation TO THEIR ENDS while they knowingly deceive public trust demonstrating

 moral turpitude and human depravity, superseding even the most sinister of historic record

 including that of Stalin and Lenin. In the intervening period of their collectivist toil, they laid

 siege to social order as a means of invocation of the duality, introducing their humanism as a

 hallmark while our Churches were shuttered. Indeed, their aim far exceeds that of political

 endeavor, they seek the disenfranchisement of Natural Law, in its entirety, resolving the People

 to a science derived model of measured structure.

        33.     Plaintiff states that the earliest Microsoft corporate registrant filing was May 23,

 1985, originated in California, the registration was later terminated; the remaining registrant

 records are foreign designation, filed in Montana (November 13, 2002) and Arkansas (December

 4, 2002), respectively.




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        34.     Plaintiff states that through a carefully orchestrated sequence of events, Microsoft

 and other foreign entities including but not limited HART InterCivic, ES&S and Dominion

 gained venue to the United States elections, hosted at the local, County, State and tribal venues, a

 violation of the United States Election Assistance Commission Bylaws. These violations were


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 coopted by persons and entities associated with the DNC and the Democratic Caucus, including

 but not limited to the Awan Brothers, foreign parties of Pakistani origin, and Crowdstrike, a

 foreign corporation as provided below, introduced under pretense later proven false, otherwise

 known as Russian interference. The foregoing unconstitutional actions were given aid and venue

 by tax-exempt and NGO entities, themselves affiliated with the inclusive Defendants, in many




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 cases through emolument attachment.




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        35.     The FISA Memo, as below, provides “Mr. Brennan reached out to his department

 at Google, requested that they fund an Organization called CROWDSTRIKE. Funding for the

 organization was to be used to produce documentation indicating that the files sized from the

 DNC were a hack perpetuated by agents linked to the Kremlin. Any documentation, or

 information suggesting that the back occurred locally was to be destroyed. The narrative that

 was to be pushed was that the emails from John Podesta’s account were the result of an elaborate

 phishing scheme.” At the time of the referral by the Director of Central Intelligence,

 Crowdstrike had absolutely no domestic corporate registration of record, a foreign enterprise

 who, for the second time in contemporary history a member of the Democratic Caucus gave the


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 keys to the castle, carte blanche access to the National Security apparatus of these United States,

 full stop. The fact that this consent was provided by someone bearing such a Title as Director of

 Central Intelligence, a title which he has utterly disgraced, is unquestionably conspiratorial so

 too does it weight among the Plaintiff findings, giving a weight well suited to a jury pool,

 measured with each heinous act.




        36.     These violations are presented with the knowledge that the inclusive Defendants’

 have, at every attempt of redress, cohesively responded by collective voice as to their grand

 deception, shattering public trust in the Rule of Law in all venues of jurisprudence. The

 guardrails of this Constitutional Republic have been knowingly corrupted with substitutional

 statutes, later codified under health crisis, the truths of which presented herein; a collective body

 of fabricated trickery, nothing more and nothing less. The enemy that lay dormant, hidden but



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 not tranquil, awaits its siege against Plaintiff’s sovereign Rights; while retaining for itself the

 freedom of marketplace movement under guise of contractual engagement by precept of non-

 existent domestic residence, the public largely unaware. Plaintiff provides the findings

 associated with the Microsoft Board of Directors from 2001; 2014 and 2024. The findings

 include associate and affiliate corporate partners; each with the same model of scaffolding and

 mapping as BCCI, mooring to the United States by a shell corporation with pass-through to the

 foreign corporation for which revenues flow.

        37.     Plaintiff states that the inclusive corporations are corrupt, partnering with those in

 government prosper from their collective toil, an exchange of wealth at the expense of the People

 and these United States. These colluding parties have permeated society, created a sequence of

 crises as outlined below through which the colluding criminals destroy evidence, member of

 government, appointed, election and paid have crafted policy and seen to its passage thus

 ensuring an unlawful trespass of their manifesto. The ONLY separation distinctly held to in the

 augmented structures is that of Church and State, the final rebellion against what God instituted,

 unfamiliar with His authority, they will bring judgment upon themselves thus fortifying His

 stronghold, condemning themselves amid the fallacy of their subjects, by free will. They seek to

 hold the Plaintiff hostage of the freedoms of Life, Liberty and Property, her inclusive Civil

 Rights, by fiat, creating for themselves a society of serfs to that of citizens, God will not permit

 His dominion subjective; Christos Kyrios, she makes no allowance.

        38.     Plaintiff provides the foregoing statement, not without a catch in her breath, to

 understand the magnitude of deception carries with it a significant weight, a weight which the

 inclusive Defendants have levied against the American People, our law enforcement, our

 guardians at the forefront of conflict – soldiers, and above all else, the Constitution of these



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 United States; the audacity of believing that such severing of service one to other could be

 imposed on the sacred learning of the Way, delegated to a collection of non-profits would seek to

 forever alter a Judeo-Christian People; that will not be happening, Plaintiff quite skilled at this

 specific treachery. The Law is of God’s precept and design which Plaintiff calls forward this day

 to be heard before this Honorable Court, Justice.

        39.     As the southern border continues to be trespassed by unlawful entry of persons

 from unknown origin, unvetted, undocumented, unvaccinated, the criminal who by eviscerating

 his Constitutional duty, has and continues to permit such unlawful entry; a saboteur of these

 United States, Defendant ALEXANDRO MAYORKAS. To understand the scaffolding, it must

 be viewed from the ground up, today in large part due to the ineptness of the Defendant, the

 inclusive Defendants’ culminating actions become transparent. A demand of God’s hand, having

 gifted the Plaintiff distinct skills and acumen; it is with prayer that the knowledge saves human

 lives, lives which the inclusive Defendants’ treat as collateral damage to their enterprise of self-

 aggrandization; their depravity knows no bounds.

        40.     Plaintiff seeks the Honorable Court to know that the Defendant, ALEXANDRO

 MAYORKAS served as the United States Attorney for the Central District of California, an

 appointment made by Defendant WILLIAM J. CLINTON, reappointed by Defendant, GEORGE

 W. BUSH, and, thereafter, appointed as the United States Secretary of Homeland Security by the

 unlawfully serving Defendant, BARACK HUSSEIN OBAMA. The Defendant’s journey an

 exacting hand. Plaintiff states as a matter of record that which others cower from – children are

 being raped at that border crossing, babies; men are forcibly using children as safe passage and

 once entry secured they are treating those children as mere property, in all respects; THESE




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 unlawful manifestations are on head of the inclusive Defendants, they will find no comfort from

 the Plaintiff having felt the birth pains of new life.

         41.      Plaintiff provides proofs of the moral disorder of the inclusive Defendant’s minds

 and souls made evident by their own doing, apart from foreign control or interdiction.

               a. In 1982, Barry Seal relocated his drug trafficking operation from Louisiana to

                  Mena, Arkansas. The DEA report, attached as EXHIBIT 1, cites an informant

                  alleging that a key Arkansas figure and backer of Defendants WILLIAM J.

                  CLINTON and HILLARY R. CLINTON smuggles cocaine from Colombia, South

                  America inside racehorses, shipped to Hot Springs, Arkansas. Plaintiff states that

                  the Colombian Ambassador to the United States (1998-2005), later the President

                  of the Inter-American Development Bank (“IDB”) (2005-2020), Luis Alberto

                  Moreno, serves on the Board of Trustees for the World Economic Forum (2011-

                  present), and the Clinton Health Access Initiative (CHAI) in the company of

                  Chelsea Clinton. In additional to the foregoing Board positions, Mr. Moreno held

                  a variety of key cabinet positions in the Colombian government, responsible for

                  funding debt relief in Haiti, Honduras, Bolivia and Nicaragua; the most heavily

                  indebted IDB member nation-states, for which the inclusive Defendants would

                  benefit from through their non-profit affiliates, in many cases providing subprime

                  construction work, etc.

               b. Plaintiff states Ophelia Dahl founded Partners In Health (“PIH”), a tax-exempt

                  organization with a primary address in Boston, Massachusetts. PIH works with

                  the Clinton Health Access Initiative (CHAI) where they volunteer providing

                  critical health care services through programs for cancer, chronic disease, cholera,


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                 HIV/AIDS, surgery, women’s health, child health, community health workers

                 support, mental health and tuberculosis offered in an among 60 hospital centers

                 around the world. PIH had a principal focus in Haiti from 2001 – 2005 and

                 Rwanda with services extended to Malawi, Mexico, Russia, and Lesotho. Ms.

                 Dahl was recognized by TIME in 2024 as one of the 100 most influential people

                 in the world.

             c. Plaintiff references Aliko Dangote, a resident of Nigeria and CEO of the Dangote

                 Group, the largest industrial conglomerate in West Africa. His holdings include

                 Dangote Refinery, an oil refinery which processes about 650,000 barrels of

                 oil/day. Dangote is associated with the United Nations, CHAI and the Gates

                 Foundation with a principal focus on Nigeria and stopping the spread of Ebola

                 (2014) among other health related population issues. He is involved in political

                 lobbying, including appreciative donor records. Presently Mr. Dangote is under

                 investigation for foreign exchange transactions in the company of 52 other parties.

             d. In 1986, journalist Evans-Pritchard described Arkansas as a “major point for the

                 transshipment of drugs…perilously close to becoming a narco-republic – a sort of

                 mini-Colombia within the borders of the United States…an epidemic of cocaine,

                 contaminating the political establishment from top to bottom…(describing

                 parties) at which cocaine would be served like hors d’oeuvres and sex was

                 rampant.”11 Plaintiff note: original source removed from the internet and could

                 not be located, secondary source provided in reference.




 11
  Evans-Pritchard, Ambrose. Arkansas Drug Expose’ Misses the Post. January 29, 1995. The Sunday Telegraph
 Accessed secondary source https://www.doubleuoglobebrand.com/vol3/cn3-77.html

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         e. In 1986, the Attorney General of Louisiana disclosed to the United States

            Attorney General Ed Meese that drug trafficker, Barry Seal has smuggled in

            excess of $3-5 billion of drugs into the United States.

         f. In 1986, Eugene Hasenfus, a CIA operative participant of the BCCI scaffolding, is

            shot down over Nicaragua in a plane stored and maintained in Mena, Arkansas.

            Plaintiff states direct affiliation between (d) and (e) as to the Defendants,

            WILLIAM J. CLINTON and HILLARY R. CLINTON.

         g. In 1987, Defendant, WILLIAM J. CLINTON, is found to be transacting Arkansas

            Traveler awards to Contra operatives Adolpho and Mario Calero (related), and

            John Singlaub.

         h. In 1987, Berkshire Hathaway purchased a 12% stake in Salomon Inc., making it

            the largest shareholder and Warren Buffett the Director. Plaintiff states that

            Salomon stored significant records in the Silverstein managed property, otherwise

            known as World Trade Center 7. Plaintiff states Warren Buffett and Berkshire

            Hathaway was and remains a partner in the actions perpetrated against the

            sovereign Plaintiff, including but not limited to his silence while simultaneously

            building a storehouse of wealth and, most egregious, the trickery of presenting

            himself anything less than a charlatan, a car salesman in a decent suit.

         i. In 1987, CIA operative, Terry Reed is interviewed regarding the Iran-Contra affair

            regarding his participation in training Nicaraguan pilots. He would recount the

            fact that the Iran-Contra operation also involved drug running, believing that large

            sums of drug money was being laundered by Arkansas financiers. Mitigating

            factors involving Reed about; however, those factors have absolutely no bearing



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                  on the redundant and abhorrent criminal organization established and sustained, at

                  all costs, by the Defendants, WILLIAM J. CLINTON and HILLARY R.

                  CLINTON, no less culpable the dishonorable inclusive Defendants who have

                  enabled such horrid actions at great human peril.

             j. In 1988, Warren Buffet began buying Coca-Cola stock, purchasing an estimated

                  $1.02 billion. Coca-Cola Company has an exceptional demographic and

                  consumer insight department, known industry wide. In April, 2023, it was

                  reported that the Maywood, New Jersey Coca-Cola bottling plant had been

                  infusing the cola with cocaine, manufacturing as much as $2 billion of pure

                  cocaine from leaves, known as ‘decocainizing’ per year in the Maywood plant.

                  Plant operators cite special licensure from the DEA, an ongoing operation. It was

                  reported that in the 1980’s, as much as 500 metric tons of leaves would enter the

                  plant in a single year.12 That same year, a decorated police officer took his own

                  life in Maywood, New Jersey; Plaintiff attended the services.

             k. Plaintiff asserts that Coca-Cola is fostering addiction, including the infusion into

                  their product formulation, assuring for themselves market share absent

                  transparency of public disclosure, the harms evident as the product is accessible

                  over the counter and available by consumers of all ages, deceptive labeling with

                  FDA consents.

             l. On April 23, 2024, Coca-Cola and Microsoft announced a five (5) year strategic

                  partnership to align Coca-Cola’s core technology strategy systemwide; enable the

                  adoption of leading edge technology; and foster innovation and productivity


 12
   Desai, Neirin Gray. Coca-Cola produces as much as $2 Billion of Pure Cocaine Every Year in a Secretive New
 Jersey Factory. April 1, 2023, updated October 23, 2023. Accessed December 10, 2023. Dailymail.co.uk

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                 globally on the Microsoft Azure OpenAI platform, extending to include testing

                 copilot for Microsoft 365 to improve workplace productivity, a $1.1 million

                 partnership commitment.

             m. From 1986 to 1992, Defendant, HILLARY R. CLINTON served on the Board of

                 Directors for WalMart, a client of Rose Law where the Defendant was also a

                 partner.

             n. Funds associated with the criminal enterprise were laundered through Miami, as

                 disclosed in ECF Doc. 45-1, BCCI in conjunction with the Capcom investigation;

                 the arrests created a void within the existing structure and enterprise of the

                 Medellin and Cali drug cartels. Defendant, HILLARY R. CLINTON filled that

                 void in the company of her husband, Defendant, WILLIAM J. CLINTON,

                 engaging WalMart as an illicit drug distributor in their interest, the Clinton Cartel,

                 shipping drugs into unsuspecting communities across the United States,

                 WalMart’s demographic studies are well appointed, the colluding parties targeting

                 their victim communities.

             o. In 1990, the Justice Department arrested the head of the largest cocaine trafficking

                 ring in history, extraditing 31 individuals, among them Alejandro Bernal Madrigal

                 and Fabio Ochoa from Colombia to the United States. “The arrests come as

                 Colombia was seeking $3.5 billion in international aid, mostly from the United

                 States, to combat drug trafficking and leftist insurgents and to prop up its faltering

                 economy.”13




 13
   Meier, Barry. Pledges of Extradition Accompany Colombia Drug Arrests. October 14, 1999. Accessed May 23,
 2024. https://www.nytimes.com/1999/10/14/world/pledges-of-extradiction-accompany-colombian...

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         p. In 1996, Enron was negotiating with the Taliban officials to facilitate the most

            expedient access to transport oil to Asia, by secretly employing CIA agents to

            negotiate, Enron was able to secure commitments for the trans-Caspian gas

            pipeline, executed in February, 1999 between Turkmenistan, Bechtel and General

            Electric Capital Services. The pipeline negotiation would be accompanied by

            comprehensive list of bonuses including cash donations; these negotiations were

            conducted throughout 1998, a period marred by bombing of American Embassies

            in Africa by al Qaeda. Plaintiff restates her claims as set forth against the CIA and

            Defendant, CHRISTOPHER WRAY.

         q. In 1996, the United States Overseas Private Investment Corporation (“OPIC”)

            agreed to provide $400 million in financing for a joint venture between

            Uzbeknedtegaz and Enron Oil and Gas Co. (Houston) in the development of gas

            fields in Uzbekistan; these would become the largest OPIC commitment in

            Central Asia at the time.

         r. In 1998, Vulcan created the investment platform, Vulcan Partners I & II, followed

            by NRVG, NRVG II which invested over $300 million in the coal industry. In

            2002, Vulcan created and led an investor group (undisclosed participants) who

            acquired select power plant assets from Enron.

         s. In 1993, as the World Trade Center was bombed by Ramzi Yousef, it was

            disclosed by members of the intelligence community that Yousef was tied to al-

            Qaeda activities in the government of Iraq.




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              t. Enron was the single largest corporate donor to the Bush/Cheney political

                 campaign in 2000, Plaintiff states as a matter of FEC record, the parties

                 Defendants to this action.

              u. In 2003, Vulcan created and structured the acquisition of Duke Energy’s oil and

                 gas division in the Gulf of Mexico.

              v. In 2004, Vulcan expanded its energy services company into Iraq and installed and

                 repaired hundreds of Megawatts of power in the post-war nation.

              w. In 2003, Warren Buffett began purchasing McLane food distribution, a WalMart

                 subsidiary, 19.9 million shares, which he doubled by the end of 2009;

                 undoubtedly benefiting from insider knowledge.

              x. In 2005, Steven Anthony Ballmer, of Microsoft and founder of the Ballmer

                 Group, recruited B. Kevin Turner of WalMart, who at the time serves and

                 President and CEO of Sam’s Club to become Microsoft’s Chief Operating Officer.

              y. In 2008, Warren Buffett purchased 3 billion shares of General Electric stock over

                 a five (5) year agreement with a 10% dividend, callable in 3-years.

        42.      In the foregoing disclosures, Plaintiff has established that the subterfuge efforts

 are not that of individual entities or corporations but rather of an organized, determined

 collective formation who have evidenced their vehemence a determination of singular focus.

 Plaintiff asserts that up until this point in time their spherical accords have seen the threshold of

 Justice in singular legal composite, as the Plaintiff has participated in governance since 1995,

 through the exquisite honing of God’s directive, she presents to this Honorable Court the whole

 of the substrate, making absolutely no allowance of compromise; the celerity of their manifesto




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 must be restrained through parallel, albeit polar opposite sustenance of breath – their evil has met

 its match.

        43.      Plaintiff brings to this Court’s attention Bid Rig I, II and III, a two-track

 investigation of political corruption and international money laundering under the direction of

 principled law enforcement officials in New Jersey, heard in one of cities of singular focus to the

 inclusive Defendants’ illicit drug trafficking treachery; Newark. The subject investigation

 spanned from 2002 and continued until 2009, respecting your Honor’s time, the following

 excerpts are empirically presented below. Plaintiff attaches as EXHIBIT 2, Acting United States

 Attorney Ralph J. Marra’s press statement of July 23, 2009.

              a. Charges and indictments relating to the 44 criminal Complaints involved: bribery;

                 extortion by venue of construction and bidding; strawman systematic political

                 corruption; fiscal malfeasance by strawmen who had infiltrated governmental

                 bodies at the State, County, and municipal levels of New Jersey government;

                 money laundering; conducted as one, cohesive organ under guise, in this case, of

                 synagogue, a wholly tax-exempt entity.

              b. The criminal deviants found venue through non-profit entities, co-mingling

                 activities with the use of cash houses which were coordinated cohesively under

                 one broader tenon through which control was exacting in local, County and State

                 government – absolutely not a conspiracy theory – rather a criminal enterprise

                 which followed every identifying marker and mapping that Plaintiff has brought

                 forward to this Honorable Court.

              c. Respecting the work of AUSA Marra, Plaintiff offers words from among the

                 investigative findings, “In both parts of this investigation…respected figures in



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            position of public and private trust engage in conduct behind closed doors that

            belied the faces of honesty, integrity and rectitude they displayed daily to their

            respective constituencies…Those who engage in this culture of corruption should

            know the cross hairs of justice will continue to be focused on them…arrested

            today was Levi Deutsch, an Israeli living in Israel who, according to the

            Complaints, was a high-level source of cash from overseas for funding the bank

            checks that passed through charitable entities. Deutch, who traveled frequently

            between Israel and New York, explained to the cooperating witness that the source

            of his cash was the ‘diamond business (and) other, other things’…(Deutsch) was

            associated with a Swiss banker who charged ‘tow, three points’ per $1 million

            laundered through him (Deutsch is a different person that the Israeli working with

            Haim).” (See EXHIBIT 2, p.6)

         d. Plaintiff calls forward the continued assertions by the inclusive Defendants who

            seek for this Honorable Court to perceive their statements of protection by the 11 th

            Amendment as viable defense of their evasion from Justice. The subject

            investigation, Operation Bid Rig I, II and II, conducted by AUSA Marra found

            and retained venue of operation through the subject Defendants’ passivity of the

            Law, an acquiescence of collaboration extending to the inclusive Defendants and,

            in particular, CHARLES “CHUCK” SCHUMER, ANDREW CUOMO,

            CHRISTOPHER J. CHRISTIE, PHILIP MURPHY, THOMAS KEAN SR.,

            TAHESHA WAY, JUDITH PERSICHILLI, JANET YELLEN, CHRISTOPHER

            WRAY, JAMES COMEY, ROBERT MUELLER, MERRICK GARLAND,

            JAMES PITTINGER, ROBERT JUNGE and LISA SELLA, crossed the State line



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            barrier of New York and New Jersey as an everyday occurrence to their criminal

            enterprise, a mirror to the enterprise of Defendants ANDREW CUOMO, PHILIP

            MURPHY, the Governors of Connecticut, Rhode Island, Pennsylvania and

            Delaware as they usurped the Executive authority granted of the Constitution,

            resulting in codified policy enacted and carried out by KATHY HOCHUL,

            LETITIA JAMES, JUDITH PERSICHILLI, TAHESHA WAY, MATTHEW

            PLATKIN, among others not yet named.

         e. The foregoing Defendants have knowledge of the Plaintiff’s disciplined servant

            history, knowing full-well that she would be unrelenting in her pursuit of Truth

            and so, to their collective toil, by way of opaque usury contract realized through

            Microsoft, forcefully and overtly corrupted the election by foreign parties,

            colluding in and among each other to their ends. Not content merely withholding

            Plaintiff from holding office, they have coopted so as to select and ensure the

            outcome of EVERY election a clear violation threat of force interfering in voting

            and voting-related activities a breach of federal law. Plaintiff further states, the

            harms which have resulted are a violation of Title 18 § 245(b)(1)(A) and

            Executive Order 13848 well established in ECF Doc. 46, the very same

            machinery apparatus usurped by foreign contractual partners to the inclusive

            Defendants in the federal elections of 2016 and 2020; the variant in the case of the

            federal elections, the manifesto presented by a strawman du jure,’ Clint Watts (See

            ECF Doc. 45-22), who has now been retained by Microsoft advancing the 2024

            federal election.




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         f. Plaintiff asserts, supported by the analytics and findings, that the contract between

            Microsoft and G42, consummated on April 15, 2024, traditional tax filing day,

            tears away the opaqueness of the foreign partners, abetted by the inclusive

            Defendants, who represent a clear and present danger to these United States, evils

            of conduct and malicious intent with indifference to collateral damage up to and

            including the death of sovereign citizens; their only concern is the achievement of

            their ends, insolvency of the United States of America. Make no mistake, this is a

            war of unprecedented and substantive evil which is intent, determined and

            expressly believed to be in unified motion towards the overthrow of this

            Government; it will be the determination of this Honorable Court in the company

            of God’s provident hand that stays this subversive manifesto. This unmasking, in

            advance of the 2024 federal election professes the pinnacle of their silent war

            against Liberty, an ancient usurpation resurrected, Plaintiff provokes disclosure of

            the inclusive Defendants’ schism; dualism of the heart, mind and soul. This

            dualism which alludes most, is central to the being of the Plaintiff; the absolution

            that for Freedom to be manifest of Liberty, it must be sanctified in the foundation

            of that which is immobile and omnipresent, less it resolves to itself that which has

            a propensity towards the external whispers of secularism. These concepts have

            been disquieted through social engineering among a civil society, similar to the

            repetition of the inclusive Defendants’ statements of repose of Plaintiff’s

            pleadings, conspiracy theories; Plaintiff states as a matter of Constitutional record,

            the Laws of Nature and Nature’s God sanctify the foundations of Liberty,

            Property, Title and Deed, tangible and in every way unalienable.



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        44.      The Equal Protections Clause of the Fourteenth Amendment to the United States

 Constitution prohibits a State from “denying to any person within its jurisdiction the equal

 protections of the laws.” U.S. Const. Amend. XIV, § 1. This constitutional provision requires

 that all persons similarly situated should be treated alike. (City of Cleburne v. Cleburne Living

 Center, 473, U.S. 432, 439 (1985)) Based on the foregoing, Plaintiff has a reasonable

 expectation that the forthcoming election would be conducted within the confines of statutes and

 legal protections; Plaintiff has evidenced that this reasonable expectation cannot be met due to

 the unlawful trespass and foreclosure of Plaintiff’s Rights, inclusive of her Right of Natural Law,

 God informed. The inclusive Defendants synchronized their actions in the unlawful trespass,

 while at every opportunity to have sought disclosure of the truth, the inclusive Defendants took

 action to ensure her silence, including knowingly conducting elections that were compromised,

 the most deceptive and heinous to that of murdering their fellow man under mask of COVID-19;

 unconscionable and murderous.

        45.      In support of Plaintiff’s mounting harms and in furtherance of the foregoing facts,

 Plaintiff states the following in evidence the inclusive Defendants’ language of incitement,

 individually and collectively determined to their manifest.

              g. Gilead and Charter Communications, Inc. are affiliate organization, foreign

                 registration while reserving one domestic registered entity with all monetary

                 exchange, contract or otherwise fiduciary benefit derived flowing through the

                 foreign enterprise(s), the domestic registry affirmed as a shell entity, same being

                 staffed, etc., with the primary focus in budget forecast, etc. directed towards the

                 foreign enterprise(s).




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              h. Gilead’s Board of Directors is comprised of Daniel O’Day, formerly of Roche

                  Pharmaceutical; Jacqueline Barton, PhD, Professor Emerita, California Institute

                  of Technology; Jeffrey Bluestone, PhD, Sonoma Biotherapeutics; Sandra

                  Horning, Roche, Inc.; Javier Rodriguez, DaVita, Inc.; Anthony Welters, CINQ

                  Care. As members of the Board of Directors chart the course of organizations,

                  Plaintiff analyzed each associated company with the Board members holding

                  senior positions. In 2023, Gilead agreed to settlement ($246,750,000.00) for

                  claims resulting from products including Truvada, Atrilpa and other generics, an

                  admission of their depravity.14

                       i. Roche Pharmaceutical – In 2009, Roche, Johnson & Johnson and Wyeth

                           were individually contracted to work with Pharmed, company remains

                           operable under various new adaptations of name. 15 Roche was sold to

                           Lonza, Basel, Switzerland, March 20, 2024.

                      ii. Sonoma Biotherapeutics – resolves back to Gilead through shell

                           corporation registration in Delaware, remains active. Secondary corporate

                           registration in Turnwater, WA registered Agent, Jeff Bluestone, Gilead.

                     iii. DaVita. In 2022, DeVita was subject of antitrust lawsuit alleging that

                           senior level management had conspired with another healthcare company

                           participated in poaching staff, exerting personal influence as form of


 14
    PRnewswire: If you purchased brand or generic Truvada or Atripla directly from the manufacturer, you may
 receive a payment from a class action settlement. Under the settlement, Gilead agreed to pay $246,750,000 into a
 Settlement Fund. October 9, 2023. Accessed May 27, 2024 https://www.prnewswire.com/news-releases/if-you-
 purchased-brand-or-generic-truvada-or-atripla-directly-from-the-manufacturer-you-may-receive-a-payment-from-a-
 class-action-settlement-under-the-settlement-gilead-agreed-to-pay-246-750-000-into-a-settlement-fund-
 301945996.html
 15
    Edwards, Jim. Roche Fraud Case Exposes Corruption Encouraged by Drug Pricing Politics. January 15, 2009.
 Accessed May 24, 2024. https://www.cbsnews.com/news/roche-fraud-case-exposes-corruption-encouraged-by-
 drug-pricing-politics/

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                         intimidation to meet its ends. Prosecutors claimed they had secured

                         “overwhelming evidence.”

                    iv. CINQ Care. – In 2023, CINQ Care reported a significant cybersecurity

                         data breach, compromising patient information. CINQ Care provides

                         services to underprivileged communities.

         46.     Accenture, formerly Arthur Anderson. – On April 15, 2005, Arthur Anderson

 entered into a settlement agreement for a class action lawsuit brough after WorldCom’s 2002

 collapse, the largest bankruptcy in United States history, an admission of moral depravity. 16 In

 the month preceding the settlement, Bernard Ebbers was convicted of fraud, conspiracy, and

 false regulatory filings in the accounting scandal; five (5) other WorldCom executives plead

 guilty in the unprecedented fraudulent activity. WorldCom collapsed as a direct consequence of

 accounting fraud correlating to inflated earnings and hiding expenses. WorldCom would re-

 emerge under the name MCI Inc. which WorldCom had acquitted in September, 1998, Plaintiff

 will return to MCI, Inc., below. From 1993, just as the BCCI investigation was coming to a

 close, through 1995, Ebbers serves as the Chairman of the Board of Directors of the Competitive

 Telecommunications Association, working frequently with Congress to improve competition

 with incumbent telecommunications companies. Between 2000 and 2002, the Board of Directors

 of WorldCom authorized several loans and loan guarantees to Ebbers to avoid selling WorldCom

 shares to meet margin calls as share prices plummeted during the dot-com bubble downturn. The

 Board lost confidence in his leadership and in April, 2002 unanimously demanded his

 resignation, the loans were consolidated into a single debt obligation of $208.2 million

 promissory note for which he defaulted; the Board foreclosed on his assets to recoup the


 16
  Neumeister, Larry. Arthur Anderson Settles Lawsuit Brought By WorldCom Investors. April 15, 2005. Accessed
 May 22, 2024 httsp://www.seattletimes.com/business/Arthur-anderson-settles-lawsuit…

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 defaulted debt. He was recommended by George W. Bush as the Chair for the President’s

 National Security Telecommunications Advisory Committee in July, 2001.

        47.     Accenture held an IPO on July 19, 2001 with Goldman Sachs and Morgan Stanley

 serving as lead underwriters, on the first day it raised nearly $1.7 Billion. Accenture averted

 prosecution in the SEC’s pursuit of Arthur Anderson, noted above. As early as 2002, the GAO

 was critical of Accenture, describing the company as a series of related partnerships and

 corporation under the control of its partners through the mechanism of contracts with a Swiss

 coordinating entity. In 2014, Accenture replace CGI as the lead contractor for HealthCare.gov,

 executing a $563 million contract through 2019.

        48.     Booz Allen Hamilton Inc. – a wholly foreign enterprise registered in Delaware,

 filed from Virginia.

        49.     MCI, Inc., despite emerging from the WorldCom bankruptcy in 2002 with a

 known reputation for fiscal malfeasance, in May, 2003, the DoD presented a $45 million no bid

 contract to build cellular phone service in Iraq; MCI had no intact expertise in building wireless

 networks. The WorldCom settlement was finalized in July, 2003 for $2.25 billion.

        50.     In December, 2005, Microsoft announced a partnership with MCI to provide

 Windows Live Messenger, MCI web calling, renamed to Web Calling.

        51.     In January, 2006, MCI was acquired by Verizon Communications and later

 integrated into Verizon business.

        52.     Salomon Brothers history includes acquisition by PhiBro whose history is well

 established in Plaintiff’s pleadings, thereafter the Travelers Group (1997) which was rolled into

 Citigroup, See ECF Doc. 45. Salomon Brothers was the first to sell mortgage-backed securities

 under Ginnie Mae, thereafter Salomo purchase home mortgages from thrifts across the United



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 States and packaged them into mortgaged-backed securities, selling the bundled debts to local

 and international investors.

        53.      In July, 2002, a case was filed in the Northern District of California citing

 artificially inflated stock prices, misleading investors. The 401k retirement accounts, tied to

 company valuation and investor confidence would plummet as the facts surfaced regarding the

 overinflated stock values.

        54.      Analysis of the facts demands a holistic view, the movement of the company as

 well the consistency of the financial sagas which plague the companies. In 1989 a significant

 portion of Building 7 WTC was renovated, completely reconstructed with tenancy of other floors

 fixed and unchanged, entire portions of floors were removed without affecting the integrity of the

 building’s structure. Based on the complexities, inclusive of the facts outlined from the

 foregoing (43-50), Plaintiff states storage records from the following companies:

              i. Salomon Brothers (Salomon Smith Barney) 12 Floors and the mechanical room

                 (generators housed) - PhiBro and the connected business dealings of Marc

                 Rich/Pincus Green, Travelers Group (1997) Citigroup (1998) mergers into

                 Salomon; Bill Browder (Hermitage Group); Michael Bloomberg; the records

                 involved 1998 – 2000 back-up tapes of email correspondence, Salomon Brothers

                 records including emergence of mortgaged-back securities – fraudulent fiduciary

                 instruments made to appear whole, additionally the inclusive repository of secret

                 service records – all and inclusive records were destroyed or left to mold over as a

                 result of investigative delay with the primary focus placed on the Buildings 1/2

                 WTC, respectively.

              j. American Express 3.0 Floors – involved in BCCI, extensively.



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              k. SEC 3 Floors – investigative records involving Wall Street brokerage houses

                 including Credit Suisse, Goldman Sachs, Mortgage Stanley – inflation of stock

                 prices advancing IPO’s. The inclusive entities have been subject of appreciative

                 settlements for human depravity including sex trafficking and money laundering,

                 admission of guilt through settlement to avoid the publicity of a Courtroom and

                 Jury comprised of their peers.

              l. United States Secret Service 3 Floors – Based on the historic records concerning

                 George H. W. Bush, his German identity known George H. Scherff, Jr., Nikola

                 Tesla and the quieted activities for which George H. W. Bush was a central figure,

                 not the least of which the heinous acts against children. The unlawful taking of

                 that singular life, unforgiveable, the Law of God demands Justice.

              m. WorldCom records while not expressly outlined as tenants, MCI and Salomon

                 Brothers also warehoused at Building 7 of the World Trade Center, the

                 contemporary history of fraud that has permeated every facet of crises including

                 those which Plaintiff has expressly outlined in the inclusive pleading records;

                 BCCI. Plaintiff has stated the correlating facts, not conspiracy, despite the

                 inclusive Defendants’ projected claims, but facts.

        55.      Summary of findings: Plaintiff states that the statistical probability that the

 registered corporations and governmental entities would rent space in the same building for the

 sole and exclusive use of records retention in one of the most expensive rent roll areas is, itself,

 anomalous. There are several factors that create outliers to the NIST findings including the fact

 that the structure was rebuilt from the interior with existing tenancy above and below throughout

 the reconstruction, most people would not appreciate the physics involved in these construction



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 projects, Plaintiff does. The steel reinforcement is one consideration, but most people miss the

 concept of a building within a building; to conceive it the imagery is consistent with a ship in a

 bottle; however, upon completion, the interior of the bottle must also be sealed and airtight, all

 without disturbing those on the floors above and below – quite a feat. That said, for all intense

 and purposes, the majority of the interior structure, the bones, were brand new. The theory that

 the building was hit by WTC Buildings 1 and 2 debris does not conform to the photos of that

 fateful day it also does not align with the building’s renovation history. Instead, the photos

 depict a complete implosion, into itself, moreover the fact that the investigation was delayed,

 caused any remaining undamaged records to be destroyed. These two areas of significant

 consideration as to the culpability disclosed in the destroyed records for which the Plaintiff has

 significant knowledge, would be damning to the parties, and have abruptly terminated their

 quest, determined to dismantle these United States from the inside out.




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        56.     Peraton – Foreign corporate registration record with the Board of Directors

 comprised of intelligence officers; Lisa Porter, PhD., NASA and DoD; George Barnes, NSA;

 Robert Cardillo, National Geospatial Agency; Lt. Gen. Scott Howell, Join Special Operation;

 Constantine “Costa” Saab, CIA. Plaintiff suggests that this is a clandestine front company.

        57.     Enron, Lisa Monaco, Defendant, ROBERT MUELLER – Enron’s origin provides

 the insight into its ultimate demise. It began doing business in the early 1930’s as the Natural

 Gas Company, following the same parallel as PhiBro, albeit a different medium of exchange, in

 this case natural gas. InterNorth was a holding company based in Nebraska and in 1979,

 InterNorth purchased the Natural Gas Company; the name did not change until 1985 with the

 merger between InterNorth and Houston Natural Gas. In 1987, it was disclosed that oil traders in

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 New York had overextended the company’s accounts by $1 Billion; the Honorable Court has the

 benefit of that knowledge with Marc Rich and Pincus Green, Enron was in financial trouble.

 Plaintiff states, that if the company were overextended and they knew the source of the error,

 why is there no record of their lawful pursuit of the perpetrators who caused the fiscal shortfall?

 The insight into the answer arrives through Enron’s solution strategy.

            n. In 1988, they opened an overseas office in England, gathering the executive

                leadership to strategize, after which Ken Lay hired McKinsey and Company,

                thereafter Jeffrey Skilling. McKinsey presence is a spot on parallel to the BCCI

                model. Skilling’s concept was to create a gas bank from which Enron could buy

                gas from a network of suppliers and sell it to a network of consumers; leveraging

                and hedging on pricing futures; exactly as Marc Rich and Pincus Green, Enron

                Finance Corporation emerged in 1990. Between 1985 and 1997, revenue grew

                exponentially to $5 Billion, not unlike BCCI, Marc Rich and others, greed sought

                expansion into water, steel, paper, coal, even the weather – whatever means to

                make more money.

            o. In early 2000, Enron added high-speed broadband network. Jeff Skilling resigned

                just as red flag and questions began arising. By 2002, the red flags would

                blossom into a full blown federal investigation of fraud. The internal accounting

                practices used independent partnerships (“IP”) where it could legally remove a

                loss from its balance sheet, passing it as an asset with investment funds flowing

                into the IP, exhibited as profits for Enron. This creative accounting portrayed a

                decrease in losses, increasing profits and kept the debts owed off the balance

                sheet, altogether. Enron’s credit rating increased, adding a bubble of protection



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            for the shell entities within the various markets of operation while using stocks as

            a funding source. The Partnership would then set up a Special Purpose Entity

            (“SPE”), chaired by an executive, Andrew Fastow, in the limited liability, special-

            purpose entities – a shell by any other name. The SPE received the returns and

            compensation in order to help Enron portray outward fiscal favor of the SPE,

            thereafter the SPE would contract with contract to pay Enron if its investment

            declined in value; a pass-through entity. Enron would use the income funds

            derived from SPE as posted profits on its balance sheets.

         p. There are a variety of creative wordsmiths applied in accounting; mark to market

            accounting, current value versus book value, etc. The fact of the matter is that the

            auditors, hand selected at the England-based strategy pow-wow Middlesbrough,

            UK where Enron International (“EI”) operated as a central hub, McKinsey and

            Company, and later Arthur Anderson were quite familiar with the mechanics of

            the schema regardless of the vernacular of alphabetic letters associated – fraud is

            fraud.

         q. Members of the press community were quite aware Enron’s escapades; they chose

            not to protect public interest by reporting the truth, instead, designated Enron

            “”Americas Most Innovative Company.” In the process of amassing expansive

            wealth, benefiting elitist investors and political cronies including Defendant,

            GEORGE W. BUSH, were recipients of political donations, an homage to their

            buttressed alignment as the taxpayers footed the bill for their flagrantly fraudulent

            activity.




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        58.    Plaintiff has presented to this Honorable Court the inclusive mapping of

 corporation after corporation, each disclosing the exact same model:

                    i. Gas, oil or mineral futures, derivatives.

                   ii. Expanding with ledger books portraying an exponential income increase

                       followed by the creation of shell corporations as sibling entities.

                  iii. 90% of the corporations layer some form of telecommunication, cable

                       television or cell service venue or cooperative through a sibling

                       partnership. Enron owned Switch Communication (Nevada). Through

                       each and every telecommunications entity trafficking of various goods and

                       services, many illicit in nature, was associated.

                  iv. Without fail, each of these multinational octopi companies meets their

                       demise and, in their wake a fledgling outcropping of haphazardly managed

                       entities including sports organizations, horse racing/equestrian

                       organizations, real estate operations, etc., in some cases, given proper

                       guidance and leadership, these outcropping entities prove autonomously

                       successful. Invariably those that turn a profit while continuing to flail

                       about, come into the company of the most unprincipled of criminals,

                       arriving with a private equity enterprise to feather their nest under guise of

                       buy outs at greatly discounted purchase prices, the likes of Warren Buffet.

                           1. Warren Buffett purchased Enron’s Northern Natural Gas Company,

                               among a group of Omaha investors, presently operating as the

                               Berkshire Hathway sibling, Berkshire Hathaway Energy, the

                               feathered nest. Coincidentally, Dynegy Corporation had courted



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                         Enron for purchase, after examining the financial records the

                         Dynegy CEO, Chuck Watson declined the purchase, thereafter

                         Dynegy would name a new CEO, Daniel Dienstbier who had been

                         president of Northern Natural Gas Company and an Enron

                         executive at one point in time, forced to vacate his position by a

                         carnivorous Ken Lay. Dienstbier was an acquaintance of Warren

                         Buffet’s, Northern Natural Gas Company remains a profitable

                         entity – rinse and repeat.

                     2. Plaintiff states that the capitalist market, for its flaws, has been the

                         economic engine of these United States since inception, what

                         began with bartering between settlers and persons indigenous, a

                         form of courting has been turned on its head by knowing criminal

                         enterprise the likes of BCCI, Rich, etc. That criminal element is

                         the overarching subject of Plaintiff’s pleading. To prove successful

                         the element demands to be fed, it has an insatiable appetite to

                         maintain a steady diet it locates willing partners who come

                         alongside to create a mutually beneficial, symbiotic relationship

                         not dissimilar from cancer, the host none the wiser until the system

                         or structures begins to decay and fail – this is the point at which we

                         find ourselves today, the precipice. The shell entities and

                         corporations now foreign enterprises, all and inclusive. Plaintiff

                         encourages the Honorable Court to verify the foregoing statement




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                        as she has, exceedingly true and factual as with every word

                        presented amid this plea of the People.

                     3. As previously stated, COVID-19 and the usurpation of Executive

                        authority quashed the backbone of the free market enterprise, small

                        business with many in nearly all States required to shut down,

                        deemed non-essential much like the fine People of this Nation.

                        What flourished during that period were principally the shell

                        entities, many of whom are held to obligations of commercial

                        backed mortgage securities, yet another forecasted crises not yet

                        having crested.

                     4. Plaintiff states that the most heinous of investor/partners, the

                        inclusive Defendants, cavorted in their coven, Plaintiff was invited

                        to the dance by the Mayor of Clinton, having declined their dance

                        card down in the past it was easily identified but in the case of this

                        brazen individual, who had the audacity to refer to the group as the

                        “secret society” of which the co-Defendants are quite familiar. The

                        subject Mayor a close associate of the dishonorable New Jersey

                        Governor, one of the former Councilpersons of Clinton a working

                        associate of the political mob-boss enterprise of southern New

                        Jersey and also a co-Defendant herein; all tightly associated. It is

                        within these structures or scaffolding that the Honorable Court will

                        find the undercurrent – a plague upon this fine Nation, exceeding

                        the worst of historic record.



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                     5. While our Nation struggled under pretense of COVID-19, these

                        sinister actors pumped our communities full of unconstitutionally

                        derived cannabis store fronts, presently inundating society with

                        quasi-cocktails, a mix of horse tranquilizer and fentanyl. Their

                        concept of reopening included codified statute which gave priority

                        to the previously incarcerated for cannabis-dedicated grants to

                        open the store fronts, evidently having absolutely no knowledge of

                        recidivism. Plaintiff was astute to their actions, See ECF Doc. 46-

                        3, the inclusive Open Public Records requests. Plaintiff’s harms

                        further manifested in the inclusive Defendants’ actions, New Jersey

                        retains sanctuary State status, the open borders retained through

                        dereliction of Oath to God and Country, unvetted persons from

                        unknown origins with unknown intent are choosing sanctuary

                        States to call home with the subject grants providing venue and

                        benefit of the free market.

                        Plaintiff has lived in the same home for 30 years, several neighbors

                        are subject of federal investigation for drug trafficking, they

                        remain in their properties. On any given day, Plaintiff can sit in

                        her backyard and invariably hear two things, children laughing and

                        birds singing. Plaintiff swore an Oath to ensure that that those

                        children laughing would have benefit of a continuum,

                        uninterrupted by drug traffickers or other persons of ill intent to

                        their innocence. The inclusive Defendants have manifested a



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                        social construct that invites the foregoing interruptions and,

                        they’ve done so maliciously; the harms incalculable to the basest

                        of Civil Rights, Life, Liberty, and Property.

                     6. Plaintiff states that the elections of 2020, 2021, 2022 and 2023

                        having been unlawfully interfered with, the inclusive Defendants

                        having full knowledge of this federal interference by foreign

                        parties under Title 18, Section 245(b)(1)(A), the cannabis

                        legalization actions taken since the unlawful activity is

                        unconstitutional, a trespass on the Plaintiff’s sovereign Civil

                        Rights and the basest of such Rights, the pursuit of Life, Liberty

                        and Property.

                     7. Plaintiff states as a matter of record, supported by the GAO reports

                        herein, the inclusive Defendants are running their operation, very

                        much the same as Enron, BCCI, WorldCom, the Clinton

                        Foundation, Grameen, etc. among the States and municipalities.

                        Plaintiff has witnessed the foregoing first-hand when meeting with

                        Hasbrouck Heights, a meeting to view video recordation of drop-

                        box patron use from the 2021 and 2022 elections. The staff

                        explained, in detail, that there had been a mass exodus of former

                        staff and that they were left holding the bag, literally. IT contracts

                        that exceeded thousands in taxpayer funds were immediately

                        rescinded and responsible contracts, honoring taxpayer funds, were

                        executed – this is merely one example. The IT manager with



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                                whom Plaintiff met had quit his Wall Street job to serve his

                                community, taking a substantial pay decrease but, with the

                                broadest of smiles, explained that he was enjoying the time with

                                his children. Throughout the past three years, there were many

                                such conversations both here in New Jersey and elsewhere, Natural

                                Law, God’s hand of providence just as He drafted the design of the

                                7-points of evidence taught throughout the United States, fostering

                                taxpayers to learn the navigation needed to identify the truth and

                                once known, how to begin the process of making it right for the

                                future and good of our fine Nation.

        59.     Returning to Enron and the resulting investigation, Plaintiff states that these

 recurrent events are the seed fields, the fertile soil where investigators are hand-selected to come

 alongside the crime scene and in a duality of the Rule of Law, the unscrupulous investigators

 cherry-picking from among matters within the criminal structure and scaffolding from which to

 draw attention, leaving the remaining as cast off seeds that lay dormant awaiting germination,

 precisely as was the case with BCCI. The foregoing model was followed expertly by Lisa

 Monaco and Defendant, ROBERT MUELLER; the latter party directly involved in the BCCI

 investigation. Plaintiff seeks for the Honorable Court to understand the nature of duality apart

 from God’s Law, like the law of physics and the Pauli principle, the same applies to quantum

 mechanics so too applies in these investigations. The waves, as it were, are sent outward as the

 investigators are apprenticed, very much a rinse and repeat operation hence the redundancy of

 placeholder or appointed names in and among the branches of government.




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        60.     Vulcan Capital Management, a company related to Microsoft purchased

 undisclosed residual assets from Enron following the sale of its domestic pipeline companies to

 CrossCountry Energy for $2.45 Billion.

        61.     In October, 2000, Daniel Scott, a renowned Wall Street utility analyst suspended

 his utility rating of companies conducting business in California based on the potential that the

 deferred energy accounts which buttressed the California Deregulation Plan, enacted in the

 1990’s, within five months of the suspension, Pacific Gas & Electric (“PG&E”) filed for

 bankruptcy. Enron was the lobbying body for the Deregulation Plan and as evidenced by

 Defendant GEORGE W. BUSH as well the actions of his father, formerly of the CIA, Plaintiff

 states the ongoing California energy crisis from which all precept of Environmental regulation

 flows, corrupted the knowledge that his father stole from Nikola Tesla. Plaintiff states as a

 matter of record, she has studied Tesla’s work noting that a significant portion of his writing were

 removed from his room following his untimely death, for which the Defendant’s father had full

 knowledge and aided in that passing. Plaintiff states that the undercurrent is now using

 environmental regulation as a component of their brand of warfare against a free Created People,

 restricting their movement as well the Plaintiff’s Civil Rights and have exacted the writings of

 Nikola Tesla as hostage so as to pillage the fine People of this Nation, a recurrent ransom

 payment from which they further encroach on Natural Law, divine of God. In support of

 Plaintiff’s statement, in Northwestern Washington State, Snohomish PUD fought to recover

 massive overcharges which Enron had engineered. Morgan Stanley, an unprincipled party to

 BCCI, among other criminal enterprises, fought the release of the documents that the PUD

 sought to make their case, same were also being withheld by the Federal Energy Regulatory

 Commission. Swiss UBS purchased EnronOnline following the completion of the Enron



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 bankruptcy in 2001; in 2002, it had abandoned its efforts to relaunch the division and closed it

 permanently in November, 2002. The EnronOnline site allowed users to do business only with

 Enron and offering of 500 products, Plaintiff states that the records so associated are now held by

 Swiss UBS.

        62.      Plaintiff states as a matter of record, the post-Enron laws, like those of TARP,

 COVID-19, 9/11 and any number of any one of the national tragedies that have befallen this fine

 Nation at the hands of the undercurrent of inclusive Defendants, has resulted in appreciative

 legislation, not one piece of legislative action has been effective in staying their hand to bankrupt

 these United States, rather they have been employed as arsenal in their war declared against the

 Plaintiff and her Civil Rights.

        63.         GlobalFoundries, Charles Schumer and Joseph R. Biden, Fortress and United

 Arab Emirates (“UAE”). The history of interface between the UAE and the United States was

 chartered under the former Assistant Secretary of State for Political-Military Affairs, appointed

 by George H.W. Bush, Richard Clarke through his firm, Good Humor under the Development

 Research Exploitation and Analysis Department, a secret unit, a program dedicated in 2008

 entitled, “Project Raven” with a focus of cyber surveillance capability an expanded hunt far

 beyond suspected extremists to include Saudi women’s right activists, diplomats at the United

 Nations and personnel at FIFA, the world soccer body. As a component of Plaintiff appreciative

 research, she presents the fact that the entire Board of Grameen, Turkey is comprised of FIFA

 members. Plaintiff notes that warrants are not referenced in the Reuters reporting.

              r. In 2013, DREAD developed a tool., codenamed Mercury Crush that exploits

                 flaws in Microsoft Word and Adobe Flash in order to implant surveillance

                 software within a website visited by activists.



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            s.    In 2014, DREAD targets 100’s of Qatari governmental officials. The program is

                 increasingly tasked with hacking into the entire rival foreign government in the

                 Middle East such as Iran and Qatar.

            t. In 2016, American staffers are given a choice, go home or joint Emirati firm

                 DarkMatter, which assumed control of the DREAD program. Some stay, despite

                 warnings from colleagues. FBI agents approach former CyberPoint staff to learn

                 what’s happening.

            u. In 2017, the unit wields a new elite hacking tool to remotely break into iphones of

                 media figures and rival foreign leaders, including the Emir of Qatar.

            v. Good Humor Consulting was hired to help the UAE create a cyber surveillance

                 agency. Built on the concept of tracking terrorists on the heels of a post-9/11

                 United States. “The plan was approved by the State Department and the National

                 Security Agency (we) following U.S. law and the NSA wanted it to happen…the

                 State Department said it carefully vets foreign defense service agreements for

                 human rights abuses.”17

            w. Saying of the DREAD program, “I have felt revulsion reading what ultimately

                 happened,” said Kurtz, a former senor director for national security at the White

                 House. Despite prohibitions against targeting U.S. servicers, for instance, by

                 2012 DREAD had targeted Google, Hotmail and Yahoo email accounts.

                 Eventually, the expanded surveillance dragnet even swept up other American

                 citizens. (Reuters). In an interview with Mike Rogers, former chairman of the

                 U.S. House Intelligence Committee, said he has watched with growing concern as


 17
  Schectman, Bing. Filed December 10, 2019 (Washington). Project DREAD: White House Veterans Helped Gulf
 Monarchy Build Secret Surveillance Unit. (REUTERS)

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                       more and more former American intelligence officials cash in by working for

                       foreign countries. “These skill sets do not belong to you…but to the U.S.

                       government that trained them. Just as Washington wouldn’t let its spied work in

                       the pay of foreign while employed at the NSA, Why on God’s green earth would

                       we encourage you to do that after you leave the government…One trainer, a

                       former SRA contractor and ex-NSA cryptographer names Keith Tuttle, concluded

                       one student had ‘lost interest’ and another ‘continues to struggle’ with

                       technology….a spokesman for General Dynamics, the owner of SRA

                       International after multiple business acquisitions, said the original contract with

                       Good Humor ended in 2010…U.S. law prohibits Americans from hacking

                       computer systems anywhere, but specifically prohibits targeting of other

                       American people, companies and servers…the operations came to include the

                       previously unreported hacks of a German human rights group, the United Nations

                       offices in New York and FIFA executives. 18

                    x. The parallels to the Awan Brothers within the foregoing, uncanny.

              64.      On April 26, 2021, Defendants CHARLES “CHUCK” SCHUMER and JOSEPH

 R. BIDEN promoted the Endless Frontiers Act, in the company of the National Defense

 Authorization Act, they promoted the movement of GlobalFoundries from California to Malta,

 New York under guise of economic development with the corporate speaker, Tom Caulfield, a

 native to New York and son of NYC Fireman. 19 Plaintiff states that the disingenuous nature of

 these press statements feed the opaqueness of the intact corporate scaffolding with the UAE


 18
      Ibid.
 19
   Press Release. April 26, 2021. GlobalFoundries Moves Corporate Headquarters to its most Advanced
 Semiconductor Manufacturing Facility in New York. GlobalFoundries.com

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 knowingly using traditional English names while a review of the SEC report clearly indicates

 their ethos is not American, this is further reinforced by the actions of the DREAD program, set

 forth above. Plaintiff states, unequivocally that the Defendants, CHARLES “CHUCK”

 SCHUMER and JOSEPH R. BIDEN are knowingly participating in economic espionage against

 these United States.

         65.     In January, 2023, Mubadala acquired Dental Care Associates (“DCA”) in the

 company of Harvest Partners, LP, establishing a private equity firm on investing in middle

 market company. DCA is one of the largest multi-branded dental support organizations in the

 United States, funds managed by Harvest Partners acquired DCA in partnership with

 management in 2015, following recapitalization that closed in December, 2022; Mubadala and

 funds managed by Harvest Partners jointly control DCA and will work closely with the

 management team.20 Plaintiff reiterates claims of harm to her sovereign Civil Rights, inclusive

 of her sacred voting Right and that of Liberty, Life and Property.

         66.     April 19, 2023, Mubadala and G42 establish Abu Dhabi’s M42, acquires

 Diaverum, World’s 3rd Largest Dialysis Provider, the acquisition purchased from Bridgepoint

 Group, making M42 the largest healthcare company in the Middle East. Diaverum provides

 dialysis services within 23-countries and 39,000 patients suffering from chronic kidney

 disease…M42 will use its deep knowledge and expertise in AI, genomics and tech-powered

 solutions to advance Diaverum’s ability to deliver precise, life-saving renal care. 21

         67.     In May, 2023, Mubadala to invest U.S. $500 million in U.S. Broadband Company

 Brightspeed, alongside Apollo funds, transacting first to Apollo in 2021, closing on October 3,



 20
  Press Release. January 16, 2023. Mubadala Acquires Dental Care Alliance. Mubadala.com/news
 21
  Press Release. April 19, 2023. M42 Acquires Diaverum, World’s 3 rd Largest Dialysis Provider.
 Mubadala.com/news

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 2022 for $7.5 Billion, purchased from Lumen. Plaintiff states that the monetary exchanges

 associated with these transactions are highly suggestive, it is unclear if changes were made

 advancing the purchase by Mubadala.

         68.     On February 15, 2024, the Biden-Harris Administration Announce CHIPS and

 Scient Act Funding for Essential Chip Manufacturing a partner collaboration of $1.5 Billion in

 the expansion of GlobalFoundries, Malta, NY and Essex Junction, VT facilities, facilitated by the

 U.S. Department of Commerce. GlobalFoundries is a wholly owned entity of the United Arab

 Emirates; the investment will enable GF to expand and create new manufacturing capacity and

 capabilities to securely produce more essential chips for automotive, IoT, aerospace, defense, and

 other vital markets. “President Biden and I continue to be fully committed to growing our

 economy and creating opportunity in every part of America…Semiconductors are in everything

 from our cellphones, to refrigerators, to cars, and our most advanced weapons systems…we’re

 working to onshore these critical technologies to bolster the supply of domestic chips that are

 essential to manufacturing…”22

         69.     Fortress, a mezzanine real property private equity firm based in New York was

 sold to Softbank Group, December 2017 after which Fortress was made private. In May, 2023

 Mubadala Investment Co., agreed to acquire a majority stake of Fortress for an undisclosed sum.

 This agreement came following an appreciative period of review by CFIUS which probes the ties

 between the UAE and China as reported by the Financial Times, who reported Mubadala agreed

 with Masayoshi Son’s firm at a $3 billion valuation. Plaintiff states as a matter of record,

 Fortress founders, Wesley R. Edens a former partner with BlackRock; Randal A. Nardone and

 Rob Kauffman were former managing directors with UBS. It was originally launched in 2007,


 22
   Press Release. February 19, 2024. GlobalFoundries and Biden-Harris Administration Announce CHIPS and
 Science Act Funding for Essential Chip Manufacturing. GlobalFoundries.com

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 with Goldman Sachs and Lehman Brothers underwriting the IPO. Fortress had an affiliation

 with Harvey Weinstein in advance of October, 2017. This was followed by a loan to

 Theranos.com in December, 2017, in January, 2022, Theranos was found guilty of wire fraud.

 Plaintiff states a clear and distinct association to the BCCI mapping of Fortress.

        70.      Barrick Gold, Black Eagle Liquidation Fund. Plaintiff refers to metals stored at

 World Trade Center (“WTC”) and article of October 31, 2001 which refers to $200 million of

 gold and silver removed from the WTC site where it had been stored in a Bank of Nova Scotia

 vault at #4 WTC, the necessity to move the assets due to damage from terrorist attack on

 September 11, 2001. No further information could be located on the movement of the asset.

              y. Gold Backed CIA. Plaintiff states that the clear and present danger at the hands

                 of the inclusive Defendants has been fully established by the Plaintiff herein.

                 Plaintiff states that at the end of WW II, an unaccounted amount of gold,

                 estimated to exceed $1 Trillion, stored apart from the United States Treasury so as

                 to ensure it would not be entered into the marketplace resulting in throwing off

                 the balance of GDP and Treasury reserve. The gold was placed in care of the

                 Central Intelligence Agency managed through 3,000 Holding entities, hereinafter

                 referred to as “the Company;” many of these holding entities are larger and more

                 powerful than sovereign nation-states. The CIA has and continues to leverage the

                 holdings to their advantage, exploiting the Constitution, their statutory trust,

                 which Plaintiff has clearly established, not the least of which their partnership of

                 the subterfuge intent, central to Plaintiff’s action. Presently, the ledger balance in

                 these combined holdings is unknown; the funds belong to the People of these




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            United States and other nation-states. Plaintiff has seen the ESF accounts but has

            not seen the holdings, the accounts are in fact significant.

         z. Defendant, BARACK HUSSEIN OBAMA, an unlawful interloper to the

            Executive Branch, having altered the CIA by statute imposition, established under

            the National Defense Authorization Act unconstitutional changes by an unlawful

            hand while at once evidencing himself as malevolent to the Constitution as well to

            the protections established by the Founders, checks and balances; one as to the

            other in the retention of trust as the primary accord to the People, a covenant.

         aa. The accounting of funds includes those of East India Companies – Silk Road

            Trade. Millions died in the Bengal famine of 1770, as once productive agriculture

            land was forcibly converted to poppy production. The astronomical rise in the

            weight of opium exports generated East India Company profits, and the

            commensurate taxes paid to the British Crown comprised an ever-larger

            percentage of British government revenue. The skyrocketing tonnage of opium

            imported into China resulted in an exploitation of the number of daily users and

            addicts. Industrial-scale cultivation and processing by the East India Company in

            India and export to, and imposed receipt of, the finished product in China. In his

            book, Smoke and Ashes – Opium’s Hidden Histories – Amitav Ghosh (John

            Murray), the author thoroughly details his record of humankind’s efforts to make

            the opium poppy an instrument of political and economic power, material failure

            to treat the natural world with the respect it commands and learn from painful

            experience.




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         bb. Libyan gold held hostage, usurped and hidden by Defendant, HILLARY R.

            CLINTON, intent to retain the shackles of old colonial exploitation of Africa as

            disclosed among her 3,000 emails of April 2, 2011, “Qaddafi’s government holds

            143 tons of gold, and a similar amount in silver. This fractional reserve gold was

            accumulated prior to the current rebellion and was intended to be used to

            establish a pan-African currency based on the Libyan golden Dinar. This plan

            was designed to provide the Francophone African Countries with an alternative to

            the French franc (CFA).” (See: https://theecologist.org/2016/mar/14/why-qaddagi-

            had-go-african-gold-oil-and-challenge-monetary-imperialism), attached as

            EXHIBIT 3. The foregoing statement was authored by Sidney Blumenthal,

            counsel to Defendant WILLIAM J. CLINTON in the case involving Monica

            Lewinsky. The facts behind the Marc Rich pardon looming as presented by the

            Plaintiff under separate cover, each of the inclusive Defendants having full

            knowledge are hereto publicly disclosed. Justice coming, pure and true informed

            by God, Almighty.

         cc. The Vatican gold is the U.S. Federal Reserve. Plaintiff refers to NCRonline.org,

            the last financial statement issued in 2013, attached as EXHIBIT 4, reflecting at

            the time 2.9 million euros or $3.9 million with the IOR.VA website dense with

            charts and historic asset records.

         dd. Black Eagle Litigation Fund (Russia divested assets from the attempted Coup by

            George H. W. Bush, among others including former S.S. Nazi forces under alias

            of the CIA). Plaintiff attached as EXHIBIT 5, “Collateral Damage” (2008).




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              ee. Plaintiff demands of this Court that the Company holdings, inclusive, establish a

                 full and orderly accounting be presented to this Honorable Court, post haste and

                 upon execution of the Order of Injunctive Relief so as to ensure the accounting

                 sovereign protections for the People; the deceitfulness of the inclusive Defendants

                 irrevocably shattered, Plaintiff’s trust in God alone.

              ff. The inclusive Defendants at every opportunity granted them by Title and Oath

                 established themselves common criminals unworthy of any honorable salutation.

                 They have dishonored these United States abroad and within the walls of

                 governmental structures now filthy with sin of untold acts; the covenant to which

                 they hold as dark and cold as their broken souls, Plaintiff will spare no vernacular,

                 their treasonous acts will be stand guard on paper that our child and their children

                 will never forget what was once nearly lost; a barbarous treachery foretold by the

                 wise of authored hands to her protection as scribed in the Constitution.

        71.      Plaintiff will be seeking the Honorable Court’s consent to add the following

 parties as Defendants to this action:

                       i.   Warren Buffet.

                      ii.   William Gates and the Microsoft Board of Directors.

                     iii.   Mubadala Capital.

                     iv.    Verizon Business.

                      v.    Gilead.

                     vi.    Vulcan Capital Management and its Affiliate entities.

                     vii.   The Ballmer Group.

                    viii.   Accenture, previously known as Arthur Anderson.



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                       ix.    Aetna CVS.

                       x.     Emergent BioSolutions and its Board of Directors.

         72.      Plaintiff returns to the initial pleading ECF Doc. 1; It is the human element, so

 often lost in translation among the scientific minds who held to data points a fictious absolution,

 the reality etched in recent history VERS reports, thereafter withdrawn, science notwithstanding,

 the vile inclusive Defendants schism of the mind. The Sitting Executive having sought

 protections of the sovereign, exercising Article II, Section 3.1.3.1, his constitutional authority

 usurped by the inclusive Defendants and, as a direct consequence to their sedition, the Plaintiff

 presented facts to this Honorable Court represented amid the immense repository of God’s hand,

 see ECF. The People of three-dimension, belonging one to the other with facets of dignity

 unalienable, gifted by a Creator’s hand and autonomous of cultural whim or flights of fancy,

 absolutely engrained – DNA and without chance encounter but of foot firmed on a foundation

 scribed by men of principal, imperfect, rightly so as to thrive apart from materialism, humanism

 and social constraint living in an absolute Freedom at once as Natural as breathing itself.

         73.      Plaintiff restates the claims as set forth in the Motion for Preliminary Injunction

 Opening Brief there are distinct usurpations of Executive Order 13848 that have taken place,

 “the ability of persons located, in whole or in substantial part, outside the United States to

 interfere in or undermine public confidence in United States elections, including through the

 unauthorized accessing of election and campaign infrastructure or the covert distribution of

 propaganda and disinformation, continues to pose an unusual and existential threat to the

 national security and foreign policy of these United States.” 23 Plaintiff has provided irrefutable



 23
   Biden, Joseph R. Notice on the Continuation of the National Emergency with Respect to Foreign Interference in
 or Undermining Public Confidence in United States Election. September 1, 2021. Accessed April 3, 2023.
 https://www.whitehouse.gov/briefing-room/presidential-actions/2021/09/07...

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 statements of corporate records that exceed allegation, not in one but all and inclusive entities

 involved in the United States elections are foreign owned enterprises. The inclusive Defendants

 and their designees, will opine lawyerly language so as to diminish, tarnish and obviate

 Plaintiff’s action born of disgust for their moral turpitude and utter disdain for the Rule of Law,

 their subversive objectives in plain view. Plaintiff has secured absolute knowledge of the whole

 having analyzed the inclusive components of their schema, presenting them before this

 Honorable Court.

         74.     Plaintiff has now presented to this Honorable Court the means and method of the

 inclusive Defendants’ treachery, seditious acts which present a serious danger to these United

 States. Plaintiff states, without equivocation, “…the precise holding of the court, and all that is

 before us for review, is that the Smith Act of 1940, as amended in 1948, which prohibits

 advocacy of the overthrow of the Government of the United States by force and violence,

 supersedes the enforceability of the Pennsylvania Sedition Act…it should be said at the outset

 that the decision in this case doe not affect the right of States to enforce their sedition laws at

 times when the Federal Government has not occupied the field and is not protecting the entire

 country from seditious conduct….nor does it limit the jurisdiction of the States where the

 Constitution and Congress have specifically given them concurrent jurisdiction, as was done

 under the Eighteenth Amendment and the Volstead Act. United States v. Lanza, 260 U.S. 377.

 Neither does it limit the right of the State to protect itself at any time against sabotage or

 attempted violence of all kinds. Nor does it prevent the State from prosecuting where the same

 act constitutes both a federal offense and a state offense under the police power, as was done in

 Fox v. Ohio, 5 How. 410, and Gilbert v. Minnesota, 254 U.S. 325, relied upon by petitioner as

 authority herein. In neither of those cases did the state statute impinge on federal jurisdiction.”



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        Plaintiff as petitioner has provided to this Honorable Court all proofs of collective action

 by the inclusive Defendants with the determined intent of internal subversion;

           i.   Plaintiff cannot go to the FBI or CIA as these governmental bodies of law

                enforcement have been evidenced to be of the act so planned.

          ii.   Plaintiff consulted with no less than four (4) respected attorneys by teleconference

                and interviewed seven (7) in total, they would not take the case for fear of

                retribution and/or the loss of their licensure to practice law.

         iii.   Plaintiff has taken no extraneous funds apart from income earned, her findings

                absolutely free of any and all bias.

         iv.    Plaintiff has no history of conflict with law enforcement, the Judiciary or any

                other party for that matter.

          v.    Plaintiff will not move from the facts.

        75.     The treachery of the inclusive Defendants’ war quite personal with Plaintiff’s

 harm incalculable, the loss of the unknown and unaccounted for; LTJG Jacob Drummond Logan,

 departing the USS Kitty Hawk aboard the Phantom II (bureau number 152220, call sign Linfield

 412) on December 2, 1965, memorialized at a cemetery of his ancestor’s hands, Mary Logan,

 wife of General John “Blackjack” Logan, Arlington.



                                          CONCLUSION

        Plaintiff respectfully requests and prays over this Honorable Court that the motion for

 preliminary injunction be granted.


                                CERTIFICATION OF SERVICE




                                                  75
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       I HEREBY CERTIFY that I filed today, Wednesday, May 29, 2024, the foregoing with the

 Federal Clerk of the Court for the United Stated District Court, District of New Jersey, via

 electronic filing, which will send notification of such filing to all parties registered for this case,

 including the Defendant’s counsel via the electronic filing system.



                                                         /s/ Mary B. Logan
                                                         Mary Basile Logan
                                                         Pro-Se Plaintiff




 cc: All Counsel of Record (Via ECF)




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